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                                No. 24-1285

                UNITED STATES COURT OF APPEALS
                   FOR THE FEDERAL CIRCUIT

                                APPLE INC.,
                                                      Appellant,
                                     v.
                INTERNATIONAL TRADE COMMISSION,
                                                      Appellee,
     MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                      Intervenors.
        Appeal from the United States International Trade Commission,
                       Investigation No. 337-TA-1276

       APPELLEE INTERNATIONAL TRADE COMMISSION’S
       NONCONFIDENTIAL RESPONSE IN OPPOSITION TO
      APPELLANT’S MOTION FOR A STAY PENDING APPEAL

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Dated: January 10, 2024
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                        CONFIDENTIAL MATERIAL OMITTED
      The body of the Commission’s opposition to Apple’s motion does not itself
include confidential business information designated under the protective order in
the Commission investigation. However, the attached addendum does. The
material omitted from Exhibit 1 (ITC-Add-1–16), Exhibit 2 (ITC-Add-17–25),
Exhibit 3 (ITC-Add-26–29), and Exhibit 7 (ITC-Add-96–98) relates to
Intervenors’ research and development of the asserted domestic industry
products. The material omitted from Exhibit 8 (ITC-Add-99–101) relates to
Apple’s research and development of infringing products.




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      Appellee International Trade Commission respectfully opposes Appellant

Apple Inc.’s motion for a stay pending appeal. ECF 7–8 (“Stay-Mot.”). 1 Apple

presents a weak and unconvincing case to invoke the extraordinary remedy of a

stay pending appeal under the Standard Havens factors. Its arguments amount to

little more than an indisputably adjudicated infringer requesting permission to

continue infringing the asserted patents. 2 Chiefly, Apple fails to demonstrate the

two most important factors in granting a stay—likelihood of success on the merits

and irreparable harm. See Nken v. Holder, 556 U.S. 418, 434 (2009).

      For likelihood of success, there is no legal error in the Commission’s final

determination and Apple essentially and improperly asks the Court to reweigh the

evidence supporting the Commission’s factual findings, all of which are supported

by substantial evidence. See Guangdong Alison Hi-Tech Co. v. ITC, 936 F.3d

1353, 1365 (Fed. Cir. 2019). Apple’s lack of likelihood of success is underscored

by the sheer number of issues on which it must prevail on appeal. For domestic

industry, Apple needs to show a reasonable likelihood of success on each of three




1
  “Stay-Add” refers to the Addendum to Apple’s stay motion. “ITC-Add” refers to
the Commission’s Addendum to its opposition.
2
  Before the Commission, Masimo Corporation and Cercacor Laboratories, Inc.
(“Intervenors”) asserted infringement of, inter alia, U.S. Patent Nos. 10,912,502
and 10,945,648 (“’648 patent,” collectively, “Asserted Patents”) by Apple Watches
having a light-based pulse oximetry feature, which measures blood oxygen levels.
Apple’s motion alleges no error in the Commission’s infringement findings.

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independent sets of factual findings; and, for obviousness, Apple needs to prevail

on each of two independent sets of factual findings. Additionally, Apple’s

prosecution laches argument is waived.

      Equally weak are Apple’s irreparable harm arguments. Contrary to Apple’s

assertions (Stay-Mot. at 18–19), Apple’s harm is not unquantifiable, but rather

speculative, at least because Apple provided no affidavit to support its assertions of

irreparable harm to its goodwill and reputation, instead relying on a declaration

presented to the Commission that (inadequately) addressed its public interest

argument. This stands in stark contrast to instances where this Court has granted a

stay based on affidavits including specific assertions of “employee layoffs,

immediate insolvency, and, possibly, extinction.” See, e.g., Standard Havens

Prods., Inc. v. Gencor Indus., Inc., 897 F.2d 511, 515 (Fed. Cir. 1990). To the

extent Apple relies on the soon-expected ruling from Customs and Border

Protection (“CBP”) as to whether certain redesigned Apple Watches infringe the

Asserted Patents, those arguments are, at best, misplaced. A favorable ruling to

Apple has no bearing on Apple’s alleged likelihood of success on the merits as to

any raised issue, and instead would undermine Apple’s “irreparable harm”

argument. See, e.g., Chamberlain Grp., LLC v. ITC, No. 22-1664, Order at 3 (ECF

43) (Fed. Cir. June 6, 2022) (unpublished). The stay motion should therefore be

denied.


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I.    BACKGROUND

      The Commission issued a final determination on October 26, 2023, finding

that Apple violated section 337 of the Tariff Act of 1930, as amended, 19 U.S.C.

§ 1337 (“section 337”), based on infringement of the Asserted Patents. See 88 Fed.

Reg. 75032 (Nov. 1, 2023). Relevant here, the Commission affirmed with

modification the final initial determination (“Final ID”) of the ALJ with respect to

non-obviousness and domestic industry. See id. The Commission did not review

and therefore adopted the Final ID as to prosecution laches. The Commission

issued a limited exclusion order and a cease and desist order (“remedial orders”)

against Apple’s infringing products. See id.

      Relying on essentially the same arguments presented here, Apple moved the

Commission to stay its remedial orders pending appeal before this Court. The

Commission denied that motion. Stay-Add-2–15.

II.     ARGUMENT
      This Court applies the Standard Havens factors in considering a motion for a

stay pending appeal, namely:

             (1) whether the stay applicant has made a strong showing
             that he is likely to succeed on the merits; (2) whether the
             applicant will be irreparably injured absent a stay;
             (3) whether issuance of the stay will substantially injure
             the other parties interested in the proceeding; and
             (4) where the public interest lies.




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Standard Havens, 897 F.2d at 512. “The party requesting a stay bears the burden

of showing that the circumstances justify an exercise of that discretion.” Nken, 556

U.S. at 433–34. Apple cannot establish that the Standard Havens factors weigh in

favor of granting a stay.

         A.    Apple Failed to Establish a Likelihood of Success on the Merits.

         Apple asserts a likelihood of success on appeal as to technical prong,

obviousness, and prosecution laches findings. None of Apple’s arguments have

merit.

               1.     Substantial Evidence Supports that Masimo Satisfied the
                      Technical Prong of the Domestic Industry Requirement.

         Section 337’s domestic industry requirement has two prongs: (1) an

“economic prong,” which considers economic activities; and (2) a “technical

prong,” which requires that the industry relate to patent-protected articles.

Hyosung TNS Inc. v. ITC, 926 F.3d 1353, 1361 (Fed. Cir. 2019); 19 U.S.C.

§ 1337(a)(2)–(3). Similar to infringement, the technical prong considers whether

the domestic industry products practice the asserted claims. Alloc, Inc. v. ITC, 342

F.3d 1361, 1375 (Fed. Cir. 2003). The Commission’s technical prong findings are

reviewed for substantial evidence. Broadcom Corp. v. ITC, 28 F.4th 240, 249–50

(Fed. Cir. 2022).

         In a careful and well-reasoned opinion, the Commission found, as a factual

matter, that Masimo had shown the existence of at least one pre-complaint


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domestic industry product that practiced the Asserted Patents. The Commission’s

conclusion is independently based on three separate products, the RevA, RevD,

and RevE sensors, which were prototypes for a later commercial product. E.g.,

Stay-Add-242–245; Stay-Add-221–223. Thus, Apple must prevail on each of

three sets of factual findings to succeed, each of which is reviewed for and

supported by substantial evidence. Apple will not do so.

      Apple does not dispute that the Rev A, RevD, and RevE sensors produced in

discovery practice the Asserted Patents, or even that the RevA sensor was

completed prior to the complaint. Stay-Mot. at 8. Rather, Apple alleges only that

the RevD and RevE sensors were not completed prior to the complaint. Stay-Mot.

at 7–11. None of Apple’s arguments have merit.

      First, Apple’s argument is based on the faulty assumptions that the

complaint itself must include all the record evidence produced during discovery;

that the produced sensors must exactly match the CAD drawings of the complaint;

and that direct evidence is required to satisfy the technical prong. Stay-Mot. at 7–

10. Apple cites no caselaw supporting any of these propositions, instead

supporting only that an existing domestic industry must be satisfied by an “actual

article,” as of the complaint, which is not in dispute.3 Companies, especially those



3
 Before the Commission, the parties disputed whether post-complaint articles
could satisfy the technical prong. E.g., Stay-Add-216–220. However, the

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in the research phase, will continue developing and updating software, but the

Commission’s findings were based on evidence of the state of the sensors as of the

complaint. Stay-Add-219. While Apple points out that Mr. Scruggs stated he was

unaware “of any devices … in existence that are exactly the same as depicted” in

the complaint’s CAD drawings, Stay-Mot. at 8–9, that assertion is irrelevant,

especially in view of the record evidence (discussed below).

      Second, ample direct and circumstantial evidence shows at least one “actual”

patent-practicing article existed before the filing of the complaint. As noted above,

Apple does not dispute that the RevA sensor was complete before the complaint or

that the RevA practices the ’502 patent,4 presenting only the irrelevant assertion

that renderings of that sensor appear different compared to photographs. Stay-Mot.

at 8–9.




Commission took no position on this dispute, basing its decision on articles
completed as of the complaint. Stay-Add-97.
4
  Apple alleges no error in the Final ID’s rejection of Apple’s other RevA
arguments—that, before the complaint, the RevA sensor did not have a strap (an
argument also presented for the RevD sensor) and was not connected to a display.
E.g., Stay-Add-220–221; Stay-Add-242–43. Accordingly, Apple has abandoned
those arguments. Nonetheless, substantial evidence supports the Commission’s
findings. E.g., Stay-Add-220–221; Stay-Add-242–243; ITC-Add-2–7(265:15–
269:25) (RevA testing, demonstrating that it was user-worn); ITC-Add-272:16–
277:13 (testing); ITC-Add-97–98 (test results); ITC-Add-21–22(405:8–407:18)
(RevA had a strap); ITC-Add-25(460:13–17) (RevD had a strap).

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      For the RevD and RevE sensors, Apple argues that the devices produced in

discovery contained a post-complaint software version and thus cannot satisfy the

technical prong. Stay-Mot. at 8–10. However, the Commission properly

considered and rejected this argument, and, more importantly, its findings were

based on evidence of the state of the sensors at the time of the complaint. E.g.

Stay-Add-219; Stay-Add-221–222; Stay-Add-243–245. For example, as set out in

the Final ID, for the RevD sensor, Masimo’s Mr. Al-Ali described internal testing

of blood oxygen saturation using a device consistent with that design in early 2021

(before the July 12, 2021 complaint), testing at a time consistent with RevD

prototype iteration. Stay-Add-243–244; Stay-Add-221–222 (including n.26); ITC-

Add-13–16(275:9–278:13) (describing oxygen saturation testing in the timeframe

that the RevD sensor was completed); Stay-Add-219 (RevD sensor completed in

April 2021). A device subject to blood oxygen feature testing must have had blood

oxygen software when tested. Stay-Add-243–245.

      For the RevE sensors (for which there were three separate devices),

Masimo’s Mr. Scruggs testified that at least one of these RevE devices had blood

oxygen software loaded on July 9, 2021—prior to the complaint—and that each

separate device was completed between May and September 2021. Stay-Add-244–




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245; ITC-Add-24(457:9–21).5 Mr. Al-Ali also testified that a RevE sensor was

tested before the complaint was filed. Stay-Add-244–245 (discussing Mr. Ali’s

testimony and other evidence supporting the Commission’s findings); ITC-Add-

19–20(316:2–317:20) (RevE sensor tested prior to complaint).

        Apple fails to even acknowledge that the above evidence exists, alleging a

likelihood of succeeding on the merits because the evidence is allegedly

circumstantial. Stay-Mot. at 10. However, the above evidence includes both direct

and circumstantial evidence, and even if it was all circumstantial, “[c]ircumstantial

evidence is not only sufficient, but may also be more certain, satisfying and

persuasive than direct evidence.” Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d

1301, 1318 (Fed. Cir. 2009).

        In sum, Apple fails to establish a reasonable likelihood of success on the

merits.

              2.     Substantial Evidence Supports the Commission’s
                     Obviousness Findings.

        The Commission’s obviousness conclusion is independently supported on

two grounds: (1) Apple failed to show that the prior art teaches or suggests the

“oxygen saturation” limitations, and (2) Apple failed to show that the prior art

teaches or suggests the “windows” limitations.



5
    “CPX-19C” is a RevE sensor. Stay-Add-215.

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                    a.     Substantial Evidence Supports the Commission’s
                           Finding that Apple Failed to Show that the Prior Art
                           Teaches or Suggests the “Oxygen Saturation”
                           Limitations.

      Based on Apple’s obviousness theory, it needed to show by clear and

convincing evidence that a person of ordinary skill (1) “would have been motivated

to combine or modify the teachings in the prior art,” and (2) “would have had a

reasonable expectation of success in doing so.” Regents of Univ. of Cal. v. Broad

Inst., Inc., 903 F.3d 1286, 1291 (Fed. Cir. 2018). Both issues are questions of fact

reviewed for substantial evidence. Id. Moreover, printed publications must be

enabling to invalidate a patent claim. In re Epstein, 32 F.3d 1559, 1568 (Fed. Cir.

1994). Prior art enablement is a mixed question of fact and law, id., but only

factual issues are present here.

      With respect to the “oxygen saturation” limitations, Apple improperly faults

the Commission for requiring a showing of a reasonable expectation of success as

well as enablement of the prior art for measuring blood oxygen with a wristwatch,

Stay-Mot. at 13, but that was the combination Apple itself alleged as invalidating

the asserted claims. Apple’s obviousness theory relied specifically on modifying

Lumidigm’s wristwatch embodiment, opting for that embodiment over

Lumidigm’s key fob, cell phone, and personal digital assistant embodiments. Stay-

Add-652-3:35–38 (Lumidigm); ITC-Add-53 (identifying wristwatch embodiment);

see also ITC-Add-50–86 (extensive discussion of the wristwatch embodiment).

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For example, Apple cited to Dr. Warren’s opinion that one of ordinary skill “would

have been able to implement pulse oximetry functionality in Lumidigm’s

wristwatch,” Stay-Add-273, and argued that that person “would have been

motivated to use one of the thermistors 6 disclosed in Webster in Lumidigm’s

wristwatch embodiment,” Stay-Add-285. Apple apparently chose that

embodiment because it is the sole embodiment teaching or suggesting the “user-

worn” claim limitation. Apple further relied on the wristwatch embodiment to

support its motivation to modify the prior art to satisfy the “concave surface”

limitation, a motivation based on user comfort and contact. Stay-Add-66–68.

Because the claims also require measuring “oxygen saturation,” Apple logically

needed to show that it would have been obvious to modify, with a reasonable

expectation of success, Lumidigm’s wristwatch embodiment to measure blood

oxygen, a showing Apple could not make.

        The Commission’s finding that the prior art did not teach or suggest the

oxygen saturation limitations were based on extensive evidence that a person of

ordinary skill would not have had a reasonable expectation of success in measuring

blood oxygen saturation with a wristwatch, and evidence that Lumidigm did not

enable a wristwatch that measures blood oxygen. Stay-Add-274–278. For




6
    The asserted claims require a “thermistor.” Stay-Add-285.

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example, Apple’s own engineers described the significant difficulty of measuring

blood oxygen at the wrist. Stay-Add-275–276 (the wrist is “just an incredibly

different beast”); ITC-Add-28–29(1012:12–1013:6) (declaring that the signal at the

wrist is “enormously weak”); ITC-Add-100–101(166:4–167:5 (“The wrist is one of

the most difficult places on the body to do almost every physiological

measurement”); Stay-Add-275–278 (discussing additional evidence). While, as

Apple points out, prior art printed publications have a presumption of enablement

(Stay-Mot. at 13–14), that presumption is overcome here because of evidence

describing the difficulty in “configuring Lumidigm’s wristwatch to measure blood

oxygen at the time of the Poeze patents.” Stay-Add-277. Given the ample

evidence supporting the Commission’s factual findings, Apple has not shown a

likelihood of success on the merits.

      Apple distorts the Commission’s straightforward factual finding into a

strawman argument that the Commission required the prior art to enable more than

is required by the claims. Stay-Mot. at 11–14. Apple failed to timely raise (and

therefore waived) this argument before the Commission. In addition, enablement

of the claims, which is based on the Asserted Patents’ disclosures, is irrelevant to

whether Lumidigm is enabling prior art. Rasmusson v. SmithKline Beecham Corp.,

413 F.3d 1318, 1325 (Fed. Cir. 2005) (“The standard for what constitutes proper

enablement of a prior art reference for purposes of anticipation under section 102,


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however, differs from the enablement standard under section 112.”). Furthermore,

along with a misplaced reliance on Epstein, Apple presents an unsupported,

attorney argument-based comparison of the Asserted Patents’ and Lumidigm’s

disclosures. Stay-Mot. at 12–14. Contrary to Apple’s assertions, Epstein includes

no such broad, legal proclamations. Rather, like here, Epstein presents a

straightforward factual question of whether the prior art was enabling for subject

matter the patent challenger asserted against the claims. Epstein, 32 F.3d at 1568.

The above-discussed substantial evidence supports the Commission’s finding, even

in view of Apple’s unsupported comparison.

      Apple also asserts that, when “claims encompass a range of embodiments

(here, for example, the category of ‘user-worn devices’), the prior art invalidates

the claims so long as it discloses even a single embodiment.” Stay-Mot. at 12.

But, as discussed above, Apple relied on the wristwatch embodiment in Lumidigm,

which is not enabled as to any oxygen measuring function and cannot be the basis

for teaching or suggesting that limitation.

      Apple further asserts that the Commission erred because Lumidigm

discloses that its sensor can more broadly be placed into “any ‘portable electronic

device.’” Stay-Mot. at 13. First, Apple waived this argument by failing to present

it to the ALJ. See ITC-Add-50–86 (arguing based on wristwatch embodiment);

Ajinomoto Co., Inc. v. ITC, 597 F.3d 1267, 1277–78 (Fed. Cir. 2010). Second,


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modifying the other Lumidigm embodiments (such as the key fob embodiment) to

measure blood oxygen would still not invalidate because the modification would

then not be “user-worn,” as claimed. Third, Apple, who had the burden of proof,

pointed to no wearable devices compatible with Lumidigm other than

wristwatches. See ITC-Add-50–86; Stay-Add-273 (“Apple relies on Dr. Warren’s

opinion that one of ordinary skill in the art would have been able to implement

pulse oximetry functionality in Lumidigm’s wristwatch.”).

      In sum, Apple cannot demonstrate a reasonable likelihood of success on the

merits with respect to the “oxygen saturation” limitation.

                   b.      Substantial Evidence Supports the Commission’s
                           Finding that Apple Failed to Show that the Prior Art
                           Teaches or Suggests the “Separate Windows”
                           Limitations.

      Based on Apple’s obviousness theory, it also needed to show by clear and

convincing evidence that a person of ordinary skill “would have been motivated to

combine or modify the teachings in the prior art” to arrive at the “separate

windows limitations,” which is a factual question reviewed for substantial

evidence. Regents, 903 F.3d at 1291. Apple failed to do so.

      Each asserted claim requires a specific orientation of separate LEDs,

separate photodiodes, a protrusion having a convex surface, separate openings

extending through that surface, opaque material, opaque surfaces, and separate

“windows” or “optically transparent materials” “extending across” or “within”

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each of the separate openings. E.g., Stay-Add-59. The claimed positional

relationships are illustrated below:




Stay-Add-68.

      At issue before the Commission was whether the prior art provided a reason

to use individual, separate windows over or within the separate openings (as

illustrated above), as opposed to, for example, a single window over the plurality

of openings (or no window at all). Stay-Add-65–68; ITC-Add-67–68. However,

instead of providing a motivation to use separate windows, Apple presented only

testimony that separate windows were well-known and that a person of ordinary

skill could use them, which is insufficient. Stay-Add-65–69; ITC-Add-91–92;

ITC-Add-32–33(1193:24–1194:14); ITC-Add-44(1221:16–1222:25); ITC-Add-


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46–47(1235:24–1236:2); Auris Health, Inc. v. Intuitive Surgical Operations, Inc.,

32 F.4th 1154, 1158 (Fed. Cir. 2022) (“The motivation-to-combine inquiry asks

whether a skilled artisan not only could have made but would have been motivated

to make the combinations.” (quotations omitted)); Adidas AG v. Nike, Inc., 963

F.3d 1355, 1359 (Fed. Cir. 2020) (same). Apple further failed to explain whether

using separate windows was consistent with its motivation for modifying

Lumidigm to include a convex surface, namely improved user comfort and contact.

Stay-Add-66–67. Notably, Apple fails to allege any error in these findings. See

Stay-Mot. at 14. Based on the record, substantial evidence supports the

Commission’s conclusion that Apple failed to show invalidity by clear and

convincing evidence. 7

      Perhaps recognizing its lack of likelihood of success in challenging the

above findings, Apple alleges, for the first time, that a person of ordinary skill

would have been motivated to modify Lumidigm with separate windows based on

an alleged dual choice between a single faceplate/window and separate

faceplates/windows. Stay-Mot. at 14–15 (citing, e.g., KSR Int’l Co. v. Teleflex



      7
         The Commission’s reasoning was consistent with the USPTO’s rejection of
Apple’s invalidity argument over Lumidigm. Stay-Add-67–69; see also Apple Inc.
v. Masimo Corp., IPR2022-01274, 2023 WL 1092323, *7–8 (USPTO Jan. 24,
2023) (finding Apple’s “convoluted combination of modifications” “grounded in
hindsight rather than based on due consideration of the teachings of the pertinent
prior art”).

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Inc., 550 U.S. 398, 401 (2007)). First, however, this argument is waived for not

being presented to the ALJ or to the Commission in Apple’s petition for review.

Finnigan Corp. v. ITC, 180 F.3d 1354, 1362–63 (Fed. Cir. 1999); Ajinomoto, 597

F.3d at 1277–78. Second, it is unsupported by evidence and wrong because it

overlooks that a single faceplate can cover, for example, only two of multiple

openings, or that overlapping faceplates (each covering different subsets of

openings) can be contemplated. Thus, Apple has failed to show “a finite number

of identified, predictable solutions,” as would be required under Apple’s new KSR

theory. KSR, 550 U.S. at 421 (“When there is a design need or market pressure to

solve a problem and there are a finite number of identified, predictable solutions.”

(emphasis added)). Third, Apple, who has the burden of proof, failed to explain

whether using separate windows is consistent with its asserted motivation for

modifying Lumidigm to include a convex surface (improved user comfort and

contact). For example, a watch with multiple separate faceplates on the interior

surface (in contact with the wrist) would likely have inferior contact with and be

less comfortable for a user than a single faceplate.

      In sum, Apple cannot establish a reasonable likelihood of success on the

merits because the Commission’s factual findings with respect to each of the

“oxygen saturation” (discussed supra) and “windows” limitations (discussed here)

are supported by substantial evidence.


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             3.     Apple’s Laches Argument Is Not Preserved for Appeal.

      Apple cannot establish any likelihood of success on the merits based on its

prosecution laches argument because it waived that argument by failing to present

the argument to the Commission in its petition for review of the Final ID.

      For petitions for review, 19 C.F.R. § 210.43(b)(2) requires:

             The petition for review must set forth a concise statement
             of the facts material to the consideration of the stated
             issues, and must present a concise argument providing the
             reasons that review by the Commission is necessary or
             appropriate to resolve an important issue of fact, law, or
             policy. … Petitions for review may not incorporate
             statements, issues, or arguments by reference. Any issue
             not raised in a petition for review will be deemed to have
             been abandoned by the petitioning party and may be
             disregarded by the Commission in reviewing the initial
             determination …, and any argument not relied on in a
             petition for review will be deemed to have been abandoned
             and may be disregarded by the Commission.
Id. (emphases added).

      Despite these clear requirements, Apple presented its prosecution laches

argument in its petition as follows (in its entirety):

             For the reasons discussed in Apple’s initial post-hearing
             brief (RIB at 153–159) and consistent with Federal Circuit
             precedent regarding, as recently confirmed in
             Personalized Media Communications (No. 21-2275, Fed.
             Cir. Jan. 20, 2023), the ID erred in its finding that Apple
             had not shown the asserted Poeze patents unenforceable
             under the doctrine of prosecution laches and/or unclean
             hands. Complainants’ twelve-year delay in filing the
             applications for the asserted Poeze patents was both
             unreasonable and prejudicial to Apple.


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ITC-Add-94–95. Apple misleadingly states that it “identified the proper legal

standard and noted why it was satisfied.” Stay-Mot. at 17. Apple’s petition did

neither, providing a case citation, rather than a standard, and summarily stating that

the alleged prosecution delay was “unreasonable and prejudicial.” ITC-Add-94–

95.8

       Apple failed to include even a concise statement of the facts, for example,

failing to mention any of the continuing prosecution during the alleged delay or

any evidence showing whether the alleged delay was intentional. See Stay-Add-

330–331. Apple additionally failed to provide any non-conclusory argument why

the ALJ’s decision was erroneous, for example, failing to point to any error in the

Final ID’s reasoning that Masimo prosecuted several applications during the

alleged delay period and that Masimo’s prosecution was distinguishable from cases

where laches was found. See Stay-Add-332–334. Lastly, and most blatantly in

violation of the Commission Rule, Apple incorporated by reference its argument

from its post-hearing brief. Apple’s “argument” was not sufficiently raised in its

petition and was therefore rightfully disregarded under the Commission’s rules and

this Court’s precedent. Finnigan, 180 F.3d at 1362–63; 19 C.F.R. § 210.43(b)(2);




8
 In implying that it presented additional pages of argument, Apple’s stay motion
cites to a similarly conclusory argument in its petition related to a different patent.
Stay-Mot. at 17 (citing Stay-Add-571–572).

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Certain Tobacco Heating Articles, Inv. No. 337-TA-1199, Comm’n Op., 2022 WL

279056 at *6 (Jan. 20, 2022).9

      Apple’s conclusory inclusion of this argument appears to have been an

attempt to skirt the 100-page page limit for petitions, while attempting to preserve

issues for appeal before this Court. See, e.g., ITC-Add-89–95 (improper,

conclusory of this and other unenforceability and invalidity arguments). Indeed, in

contrast to the scant treatment of laches in its petition, Apple’s motion includes

several pages of argument. Stay-Mot. at 15–17. Accepting Apple’s tactics would

undermine the Commission’s review process, effectively allowing the parties to

present arguments to this Court for the first time without having sufficiently raised

them before the Commission.

      Thus, Apple cannot establish a likelihood of success on the merits based on

prosecution laches.

      B.     Apple Fails to Show Irreparable Harm.
      Apple asserts that it faces unquantifiable harm to its goodwill and reputation

if barred from importing its “flagship” Apple Watch models during this appeal.

The remedial orders, however, affect just a portion of Apple’s watches, and Apple



9
  Apple’s criticism of the Commission for failing to explicitly address certain facts,
or address specific legal authority, Stay-Mot. at 17, ring hollow, particularly in
light of its own failures to raise these facts or legal arguments in any detail (as
required) in its petition for review.

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Watches overall are just one product line of Apple’s vast portfolio of product and

services offerings. Moreover, Apple relies purely on attorney argument, failing to

produce even an affidavit with its motion to support its alleged, vague

“reputational” and “goodwill” harm. To the extent Apple relies on affidavits it

provided to the Commission in support of its public interest arguments below,

those affidavits address the alleged effects of the orders on consumers, not on

Apple, which is an essential focus of the irreparable harm analysis. Thus, this case

stands in stark contrast to instances where this Court provided a stay, where the

movant demonstrated through affidavits that its entire existence was in jeopardy.

See Standard Havens, 897 F.2d at 515.

      Apple’s reliance on Celsis and Metalcraft is misplaced. See Stay-Mot. at

18–19. In Celsis, this Court upheld a district court’s entry of a preliminary

injunction, under the abuse of discretion standard, affirming a finding of

irreparable harm based on “unrebutted” testimony from the patentee’s expert on

the damage to the patentee’s products’ “price, reputation, and business

opportunities,” including “irreversible price erosion.” Celsis In Vitro v.

CellzDirect, Inc., 664 F.3d 922, 930–31 (Fed. Cir. 2012). Similarly, in Metalcraft,

the Court upheld a preliminary injunction against the accused infringer, under the

abuse of discretion standard, based on the record in that case, including the accused

infringer’s own statements which supported the district court’s finding that the


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harm to the patentee was “difficult to quantify.” Metalcraft of Mayville, Inc. v. The

Toro Co., 848 F.3d 1358, 1368–69 (Fed. Cir. 2017). Apple’s unsupported and

speculative assertions fall far short of this Court’s precedent.

      Further, as noted above, if CBP grants Apple a favorable ruling on its

redesigned watches, Apple’s (unsupported) rationale for its reputational and

goodwill harm would largely dissolve. See, e.g., Stay-Mot. at 18 (“Apple is losing

goodwill and suffering reputational damage from being unable to provide U.S.

consumers with its flagship Apple Watch products.”); Chamberlain, No. 22-1664,

Order at 3 (ECF 43) (denying stay of remedial orders pending appeal in view of

CBP’s ruling that redesigns are not subject to exclusion).

      Thus, Apple cannot establish irreparable harm under the present facts.

      C.     The Balance of Hardships Does Not Support a Stay.

      Apple’s principal argument in support of the balance of hardships factor is

that, as of the time it filed its motion, Masimo is allegedly not selling its W1 Watch

in “any meaningful quantities” in the United States. Stay-Mot. at 20–21.

However, “[w]here two companies are in competition against one another, the

patentee suffers the harm—often irreparable—of being forced to compete against

products that incorporate and infringe its own patented inventions.” Douglas

Dynamics, LLC v. Buyers Prods. Co., 717 F.3d 1336, 1345 (Fed. Cir. 2013). Thus,

this factor also weighs against the issuance of a stay.



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      D.     The Public Interest Weighs Against a Stay.
      The Commission has twice determined that the public interest does not

support a stay of remedial orders directed to Apple Watches, and the President has

twice determined not to disapprove such orders for policy reasons. E.g., Stay-Add-

106–148; Stay-Add-127; Certain Wearable Elec. Devices with ECG Functionality

& Components Thereof, Inv. No. 337-TA-1266, Comm’n Op., 2023 WL 372372,

at *42–47 (Jan. 20, 2023) (involving all Apple Watches at issue here (as well as

additional models) and very similar public interest arguments); 19 U.S.C.

§ 1337(d)(l), (f)(l), (j). In a detailed analysis spanning over forty pages, the

Commission determined here that the issued remedy would not adversely affect the

public interest factors. 10 More specifically, the Commission found that numerous

alternatives to the infringing products are available on the market, including some

of Apple’s own watches. Stay-Add-119–123; Stay-Add-147–148; see also

Wearable Elec. Devices, 2023 WL 372372, at *42–47. Moreover, Apple fails to

point out that the Commission also provided an exemption in the remedial orders

allowing Apple to service, repair, or replace infringing Apple Watches owned by

consumers before the remedial orders became effective. Stay-Add-129–130.




 Those factors are “public health and welfare, competitive conditions in the
10

United States economy, the production of like or directly competitive articles in the
United States, and United States consumers.” 19 U.S.C. § 1337(d)(l), (f)(l).

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      Apple also argues that the remedial orders would adversely affect medical

studies using the Apple Watches’ infringing blood oxygen feature and/or an ECG

recording feature. Stay-Mot. at 21. The Commission, however, provided the

above-noted exemption to ensure that any study participants could receive a

replacement device to continue any study with a device having the same

technology. Stay-Add-126–127; Wearable Elec. Devices, 2023 WL 373272, at

*42–47. The Commission further found that research could be performed using

the many alternatives, and that the United States already had a sufficiently large

amount of potential study participants. Stay-Add-127–129; Wearable Elec.

Devices, 2023 WL 373272, at *42–47. Apple further argues that remedial orders

will adversely affect the economy, Stay-Mot. at 22–23, but Apple’s arguments fail

to tie the alleged harm specifically to Apple Watches, much less to the infringing

Apple Watches (as opposed to the non-infringing Apple Watch SE). See Stay-

Add-141–146. Last, importantly, “the public is best served by enforcing patents

that are likely valid and infringed.” E.g., Abbott Labs. v. Andrx Pharms., Inc., 452

F.3d 1331, 1348 (Fed. Cir. 2006).

      Thus, the public interest, as well as the other three Standard Havens factors,

counsel against a stay.




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III.   CONCLUSION

       For the foregoing reasons, the Commission respectfully requests that the

Court deny Apple’s motion.

                                Respectfully submitted,


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Date: January 10, 2024




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         CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
      LIMITATION, TYPEFACE, AND TYPE STYLE REQUIREMENTS

      Pursuant to Federal Rule of Appellate Procedure 32(g)(1) and Federal

Circuit Rule 32(b)(3), I hereby certify that the attached opposition complies with

the type-volume limitation and typeface requirements of Federal Rules of

Appellate Procedure 32(a)(7) and Federal Circuit Rules 32(b)(1) and 32(b)(2).

This opposition has been prepared in a proportionally spaced typeface using

Microsoft Word for Microsoft Office 365 in Times New Roman 14-point font, and

contains 5120 words according to the word-count function of the word-processing

system, which provided 5100 words, and a manual count of 20 words from the

figures.



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Date: January 10, 2024
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                    CERTIFICATE OF COMPLIANCE WITH
                     CONFIDENTIALITY REQUIREMENTS

      Pursuant to Fed. Cir. R. 25.1(e)(2), I hereby certify that the attached

opposition, which contains material marked as confidential under Fed. Cir. R.

25.1(d)(1), complies with the limitations and requirements related to confidential

information set forth in Fed. Cir. R. 25.1(d) and 28(d). This brief contains 0

unique words marked as confidential, and only contains confidential information in

the attached addendum.


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                              CERTIFICATE OF SERVICE

      I, Ronald A. Traud, hereby certify on this 10th day of January 2024 that I

filed the attached Appellee International Trade Commission’s Nonconfidential

Response in Opposition to Appellant’s Motion for a Stay Pending Appeal

using this Court’s CM/ECF system, which accounts for service under the Rules of

this Court.



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                                      No. 24-1285

                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                     APPLE INC.,
                                                             Appellant,
                                           v.
                    INTERNATIONAL TRADE COMMISSION,
                                                             Appellee,
       MASIMO CORPORATION, CERCACOR LABORATORIES, INC.,
                                                             Intervenors.
           Appeal from the United States International Trade Commission,
                          Investigation No. 337-TA-1276

       DECLARATION OF RONALD A. TRAUD IN SUPPORT OF
        APPELLEE INTERNATIONAL TRADE COMMISSION’S
     RESPONSE IN OPPOSITION TO APPELLANT’S MOTION FOR
                   A STAY PENDING APPEAL

I, Ronald A. Traud, pursuant to 28 U.S.C. § 1746, declare as follows:

      1.       I am an attorney for the U.S. International Trade Commission, counsel to

Appellee in the above-captioned appeal. I have personal knowledge of the facts set

forth below.

      2.       Attached hereto as Exhibit 1 (filed under seal) is a true and correct copy

of an excerpted version of the June 6, 2022 trial transcript in Investigation No. 337-

TA-1276, Certain Light-Based Physiological Measurement Devices and Components
           Case: 24-1285     Document: 23     Page: 34    Filed: 01/10/2024




Thereof (hereinafter, the “1276 Investigation”). This exhibit contains confidential

information. No public version of this document is currently available.

      3.     Attached hereto as Exhibit 2 (filed under seal) is a true and correct copy

of an excerpted version of the June 7, 2022 trial transcript in the 1276 Investigation.

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currently available.

      4.     Attached hereto as Exhibit 3 (filed under seal) is a true and correct copy

of an excerpted version of the June 9, 2022 trial transcript in the 1276 Investigation.

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currently available.

      5.     Attached hereto as Exhibit 4 is a true and correct copy of an excerpted

version of the June 10, 2022 trial transcript in the 1276 Investigation.

      6.     Attached hereto as Exhibit 5 is a true and correct copy of an excerpted

public version of Respondent Apple Inc.’s Second Corrected Post-Hearing Brief,

dated September 2, 2022, which was filed in the 1276 Investigation. This exhibit is

fully public, but was prepared by redacting confidential business version from the

confidential version.

      7.     Attached hereto as Exhibit 6 is a true and correct copy of an excerpted

public version of Respondent Apple Inc.’s Petition for Review of the Initial

Determination of Violation of Section 337, dated January 23, 2023, which was filed
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the 1276 Investigation. This exhibit is fully public, but was prepared by redacting

confidential business version from the confidential version.

      8.     Attached hereto as Exhibit 7 (filed under seal) is a true and correct copy

of an excerpted version of Trial Exhibit No. CX-0378C (Masimo Presentation

regarding the Masimo Watch). This exhibit contains confidential information. No

public version of this document is currently available.

      9.     Attached hereto as Exhibit 8 (filed under seal) is a true and correct copy

of an excerpted version of Trial Exhibit No. CX-0299C (Stephen Waydo Deposition

Transcript). This exhibit contains confidential information. No public version of this

document is currently available.



Executed on: January 10, 2024                 /s/ Ronald A. Traud
                                              Ronald A. Traud
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                            LIST OF EXHIBITS

1     ITC Trial Transcript, Closed Sessions, June 6, 2022,       ITC-Add-1–16
                            Excerpted
2     ITC Trial Transcript, Closed Sessions, June 7, 2022,       ITC-Add-2–25
                            Excerpted
3     ITC Trial Transcript, Closed Sessions, June 9, 2022,       ITC-Add-26–29
                            Excerpted
4      ITC Trial Transcript, Open Sessions, June 10, 2022,       ITC-Add-30–47
                            Excerpted
5   Respondent Apple Inc.’s Second Corrected Post-Hearing        ITC-Add-48–86
              Brief, September 2, 2022, Excerpted
6   Respondent Apple Inc.’s Petition for Review of the Initial   ITC-Add-87–95
     Determination of Violation of Section 337, January 23,
                         2023, Excerpted
7      Trial Exhibit No. CX-0378C (Masimo Presentation           ITC-Add-96–98
            regarding the Masimo Watch), Excerpted
8   Trial Exhibit No. CX-0299C (Stephen Waydo Deposition          ITC-Add-99–
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          EXHIBIT 1




                      ITC-Add-1
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         UNITED STATES
INTERNATIONAL TRADE COMMISSION

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  In the Matter of                               Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

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                     REVISED AND CORRECTED TRANSCRIPT

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          EXHIBIT 2




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         UNITED STATES
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  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL             337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

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          EXHIBIT 3




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         UNITED STATES
INTERNATIONAL TRADE COMMISSION

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  In the Matter of                              Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL             337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

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          EXHIBIT 4




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         UNITED STATES
INTERNATIONAL TRADE COMMISSION

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  In the Matter of                               Investigation No.


  CERTAIN LIGHT-BASED PHYSIOLOGICAL              337-TA-1276

  MEASUREMENT DEVICES AND COMPONENTS

  THEREOF

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1     of 2008, what was known about the use of openings with

2     opaque surfaces over photodiodes?

3           A.       Well, I would say in 2008 and many decades prior,

4     openings are a way for light or to allow light to get to a

5     detector.       A detector can't detect light without some sort

6     of opening above it.

7           Q.       And if we were to turn to the next slide, can you

8     provide some examples before 2008 -- July of 2008 -- of

9     devices that combine these concepts that you've been talking

10    about -- multiple LEDs, four or more photodiodes, and

11    openings over those photodiodes?

12          A.       Yes.    None of these tools existed in isolation.

13    A designer would have used a collection of a grouping or

14    permutation of many of them in their work.

15                   One I really like a lot is Smart, RX-473, because

16    it incorporates the LEDs, the photodiodes, the opaque

17    material, the interior surfaces, the opaque surfaces, and

18    the openings all in one bundle, 50 years ago.

19          Q.       What are the others that you've identified on

20    this slide?       And just by name and exhibit number.

21          A.       Okay.    Haar, RX-667, and then McCarthy, RX-489,

22    Lumidigm, RX-411, and then finally Imai, RX-1220.

23          Q.       If we can turn to the next slide.

24                   In July of 2008, what was known about the use of

25    transmissive coverings or windows over photodiodes?




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1           A.       I noted earlier that you need an opening to allow

2     light to reach a detector.         A window is another way to allow

3     that to happen where a window is a physical piece of

4     material, or we call it a transmissive covering, where the

5     covering would allow light through, but it would also

6     physically protect the detector from dust and debris and

7     dirt, liquid, things of that nature.

8           Q.       What are your favorite examples here?

9           A.       I'll pick a few.    I really like Cramer RX-670 in

10    the upper left, because it's more than 40 years old.

11    Nippon, or what I call Jaib, RX-665, next to it.               Seiko,

12    we'll hear about in a moment, RX-666, and then also Haar,

13    RX-667.     And I might point out we also did this with Kansas

14    State, RX-648.

15          Q.       If we could turn to the last slide in this

16    series.

17                   In July of 2008, what was known about the use of

18    structures protruding into the tissue in optical sensors?

19          A.       So a person of ordinary skill would have already

20    known that you could take a structure, we'll call it a

21    protrusion or a sensor head, and push that into tissue, and

22    what that would enable is that would push residual blood out

23    of the way and increase your AC-to-DC signal ratio, meaning

24    that you would see the tissue perfusion in a better way.

25                   And there were a number of designs that did this.




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1     Again, I like Smart, because it's so old, RX-473, but

2     Cramer, next to it, RX-670, also implemented this mechanism.

3                    And Seiko in the bottom left, Seiko 131, which is

4     RX-666, not only implemented it, but explained well why the

5     technique was important and why it worked.

6           Q.       If we could go to the next slide.

7                    Professor Warren, we're going to come back to the

8     Apple Watch later, but until then just a few preliminary

9     questions.

10                   How long have optical sensors included four or

11    more sets of LEDs?

12          A.       At least since 1990, so 30 years.

13          Q.       How long have optical sensors included four or

14    more photodiodes arranged in quadrants?

15          A.       Cramer 1978 would be a good example, so 40 years.

16          Q.       How long have optical sensors included openings

17    with opaque surfaces over photodiodes?

18          A.       That goes all the way back to Herczfeld and Smart

19    in the late '60s.

20          Q.       And how long have optical sensors included convex

21    protrusions to conform to a measurement site?

22          A.       I would offer Smart for that one, early '70s.

23          Q.       We're going to turn now to RDX-8.88.

24                   You mentioned earlier that you have built pulse

25    oximeters with your students in laboratory classes.            Do you




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1     recognize -- let me just ask you to remind us the timing of

2     these laboratory courses.

3           A.       I took these pictures in fall 2002.

4           Q.       Okay.    What are we seeing on the top row?

5           A.       So the top row is just some example pictures from

6     a Tuesday evening session that we managed with the students

7     where I attempted to archive the pulse oximetry procedure.

8           Q.       Is that Mr. Schmitz again on the left taking a

9     measurement on his wrist?

10          A.       It is, yes.

11          Q.       And what are we seeing in the bottom row?

12          A.       So the bottom row is a collection of sensors that

13    were built by students.         On the left row we have some built

14    by Ryan, excuse me, by Austin Wareing.            And in the center

15    there were some other built by students as well as the

16    right.

17          Q.       I'd like to ask you about one in particular.

18    We're going to turn to RDX-889.

19                   Do you recognize the student-made sensor in the

20    photo on the left here, RX-515?

21          A.       Yes.    This is a sensor that Austin Wareing built.

22          Q.       Okay.    And who was Austin Wareing?

23          A.       Oh, yes, Austin Wareing was an undergraduate

24    student in my laboratory working on an Honors Research

25    project.




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1           Q.       Okay.    And at the time he created this sensor,

2     would he have met the agreed definition of a person of

3     ordinary skill in the art?

4           A.       No, he did not yet have his undergraduate degree.

5           Q.       When did he create this sensor?

6           A.       This was a summer 2004 project.

7           Q.       Can you describe at a high level the primary

8     components he included in his sensor?

9           A.       Yeah.    The sensor incorporated six photodiode

10    detectors.       These are large area detectors.        And they were

11    embedded on an interior foam surface, and that was

12    sandwiched then with another piece of foam on top.

13                   And to provide openings, Austin cut holes in the

14    foam with an X-Acto knife, and then he cut the border around

15    the entire unit with a pair of scissors.

16          Q.       Do you recognize the photo on the top left,

17    RX-517?

18          A.       Yes.    On the top right, it's Austin's sensor

19    along with a data acquisition board to which it interfaced.

20          Q.       What components would that data acquisition board

21    have had?

22          A.       That was a board driven by a PIC microcontroller,

23    and it also had the sample on hold circuitry and some other

24    circuitry on it.

25          Q.       Including processors?




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1           A.       Yes, the PIC microcontroller was a processor with

2     memory.

3           Q.       What are we seeing in the bottom right, RX-652?

4           A.       The image in the bottom right is a depiction of

5     one of the Bluetooth boards that we used with RX-0517.             This

6     was a Bluetooth board that we had just a small number of.

7           Q.       And we're going to quickly put on the ELMO three

8     physical exhibits, RPX-6, RPX-7, and RPX-33.

9                    Do you recognize these?

10          A.       Yes, I do.

11          Q.       And how would you compare these to what we just

12    saw in the photos?

13          A.       They're the same units that were in the photos,

14    although I believe the one on the right is upside down.

15          Q.       Sorry about that.

16                   We're going to turn, then, to RDX-890.

17                   Did any of your students ever use more than two

18    LEDs in RDX-890?

19          A.       Yeah.   We looked at a previous viewgraph with

20    some students' sensors in it, and it incorporated four sets

21    of two LEDs around a central photodiode detector.              And there

22    is an image on the screen at the moment that depicts another

23    student's work that incorporates three LEDs.

24          Q.       Did any of your students ever include windows

25    over the photodiodes in their sensors?




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1           A.       Yeah.    One of the nice products available at the

2     time is what we would call a can photodiode, which means a

3     photodiode in a can with a window over the top to provide a

4     lens and a protective function.

5           Q.       And are we looking at RX-510 and RX-648?

6           A.       Yes.

7           Q.       If we could turn to the next slide.

8                    MR. CLAUSSEN:    Your Honor, I'd like to raise an

9     objection before we move on.          My objection is that RPX --

10    want to make clear for the record that RPX-18 is not part of

11    the grounds for this case.          And so we object to any

12    implication that RPX-16 and RPX-18 are part of the grounds

13    for this case.

14                   MS. VREELAND:    Your Honor, we're only introducing

15    the photos so we're not going --

16                   MR. CLAASSEN:    With that representation, we can

17    move on.

18          Q.       If we could turn, then, to the next slide.

19                   What is RX-508?

20          A.       This is a publication from 2005 that we presented

21    at the American Society for an Engineering Education

22    Conference.

23          Q.       And do you recognize the acquisition board and

24    the sensor in the bottom left excerpt from this article?

25          A.       Yes.    Those are the same two pieces of hardware




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1     that we just saw on the ELMO unit.

2           Q.       Okay.   And if we could turn, then, to the next

3     exhibit.

4                    What is RX-504?

5           A.       This is a poster that Austin used for a public

6     presentation in our college Honors Colloquium, the atrium

7     exercise, and it speaks to the design of his sensor head in

8     addition to the other hardware and software that was used.

9           Q.       And what did he highlight about his design?

10          A.       The highlighted element is -- speaks to the foam.

11    So the optical foam that we use or the black foam was

12    intended to be pliable so that the sensor head could conform

13    to tissue.       And there was a clear reason for using the foam

14    itself, and that was to essentially block light or prevent

15    light piping via the use of opaque material.

16          Q.       Let's turn, then, to the Poeze patents.          We're

17    going to go to RDX-814.

18                   Do you recognize the three patents on the screen,

19    JX-1, JX-2, and JX-3?

20          A.       I do.

21          Q.       Can we call these the Poeze patents?

22          A.       Yes.

23          Q.       What types of pulse oximeters do the Poeze

24    patents show in their figures and embodiments?

25          A.       These would address what we would call clothespin




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1     style transmissive finger clips.

2           Q.       If we could go to the next figure.

3                    So in the examples in the Poeze figures, are the

4     LEDs and the photodiodes on the same side of the sensor?

5           A.       The LEDs and photodiodes are on different sides

6     of tissue, if that was the question you intended.

7           Q.       And do the Poeze patents say anything about

8     reflective pulse oximeters?

9           A.       That mode is mentioned briefly in the spec but

10    not in the pictures themselves.

11          Q.       And in the examples in the Poeze figures, what

12    part of the body is being used as the measurement site?

13          A.       These are all fingertip sensors.

14          Q.       Okay.   Have you read each of the -- the patent

15    specifications from front to back?

16          A.       I've read them front to back twice, but I've

17    studied a number of the other areas, many hours, countless

18    hours it seems at this point.

19          Q.       And have you seen anything anywhere in those

20    Poeze specifications about taking a measurement on a wrist?

21          A.       No.

22          Q.       Nothing?

23          A.       No.   There is only a mention to finger, toe,

24    hand, foot, ear, and forehead, as I recall, no wrist.

25          Q.       If we could turn to the next slide, RDX-816.




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1                    Masimo has focused in particular on the fact that

2     the Poeze patents disclose pulse oximeters with a

3     protrusion.

4                    What do the patents say about the shape of the

5     protrusion that you can use with the -- in the purported

6     invention?

7           A.       The specification states that it can be convex,

8     but then it also says it can be sized and shaped to conform

9     the tissue to a flat or relatively flat surface.                It also

10    states that it can be cylindrical or partially cylindrical.

11                   And then it says here at the bottom of the

12    highlighted portion it could be sized and shaped differently

13    for different measurement sites.            So a variety of

14    descriptions of shapes and sizes.

15          Q.       Do the patents ever at any point suggest using a

16    convex protrusion for taking a measurement at a wrist?

17          A.       No.

18          Q.       We're going to turn to the next slide.

19                   Masimo has focused in its testimony on the

20    reduction of light piping.          What do the Poeze patents say

21    about how to reduce light piping, if at all?

22          A.       The only thing the spec says about reducing light

23    piping, at least with regard to opaque material, is with

24    regard to the protrusion in the upper example, black or

25    other colored plastic.          And then with regard to the noise




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1     shield in the bottom exhibit, opaque color such as black or

2     dark blue.

3           Q.       So are there any teachings in these

4     specifications, then, beyond using opaque materials?

5           A.       Not for light piping.

6           Q.       And how long have people in the industry been

7     using openings with opaque materials to reduce light piping?

8           A.       The Herczfeld reference shows it explicitly in

9     1969 so 50 years, decades.

10          Q.       Professor Warren, have you studied the asserted

11    claims of the Poeze patents?

12          A.       Yes.

13          Q.       And do you have an opinion on whether or not the

14    Poeze claims describe anything new or novel?

15          A.       My opinion is that they do not.       In fact, the

16    ideas or teachings are quite old.

17          Q.       We're going to turn next, then, to RDX-818, the

18    next slide, RDX-819.

19                   Professor Warren, have you studied the Lumidigm

20    patent, RX-411?

21          A.       Yes.

22          Q.       How did you first become aware of the company

23    Lumidigm?

24          A.       I learned of Lumidigm as a spinoff from Rio

25    Grande Medical Technology, and I knew about them when I




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1     worked at Sandia in Albuquerque in the mid-'90s.

2           Q.       How did you first become aware of the Lumidigm

3     '212 patent?

4           A.       I found this patent when I was doing a recessed

5     detector search online.

6           Q.       Can we call it Lumidigm for short?

7           A.       Yes, that's fine.

8           Q.       How would you characterize Lumidigm's

9     disclosures?

10          A.       The spec -- I think the real novelty is in the

11    idea of a personal identification system that uses liveness

12    as an additional indicator.

13                   But one of the other benefits of the

14    specification is that it includes a collation of what was

15    known about the time of optical sensor heads that were used

16    in reflectance mode for spectroscopy purposes in terms of

17    their various LED and photodiode detector layouts.

18          Q.       We're going to pull on to the screen RX-411,

19    Figures 3 through 7B.

20                   What does Lumidigm describe in connection with

21    these figures?

22          A.       These figures are various examples or exemplary

23    ideas of ways to lay out a variety of sources and detectors

24    in reflectance mode on a sensor such as this, including in

25    radial and rectilinear and Cartesian layout.




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1     Figures 3 and -- let's see, 5, 7A and 7B -- where Lumidigm

2     states that each of the locations for the LEDs, which,

3     again, are the red dots on these figures, each of those

4     locations can be comprised of LEDs with the same or

5     different wavelengths, but also the light sources themselves

6     can include sets of LEDs --

7           Q.       Why don't we go --

8           A.       -- at each location.

9           Q.       Let's go, then, to the next limitation.

10                   How does Lumidigm teach element 19B?

11          A.       So this is the well-known idea of four

12    photodiodes arranged on the user-worn device.              Lumidigm

13    addresses this specifically in Fig. 7A and 7B, where 7A

14    incorporates five photodiodes in a linear arrangement, and

15    Fig. 7B incorporates an 8x8 grid of 64 photodiodes.

16          Q.       Let's turn, then, to element 19C or 19D, excuse

17    me.

18                   How does Lumidigm teach this?

19          A.       The notion of an optically transparent material

20    is, again, quite well-known where the material is in each of

21    the openings.       Lumidigm states in column 8 that an optical

22    relay, which is not shown in the diagram, between the sensor

23    and sensor surface and the skin, and helped to transfer

24    light by directionally either from the light source from the

25    skin or from the skin back to the detector.




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1                    And I've illustrated, for example, a well-known

2     optical relay, which is a lens, in the opening of the

3     photodiode that's depicted in Fig. 2, but Lumidigm also

4     states that you can use fiber-optic faceplates for this

5     purpose, where you could use a single faceplate for multiple

6     openings or you could do an individual -- a person of skill

7     would know that you could do an individual faceplate for

8     each of the individual openings as a means to provide light

9     but still optimize the process.

10          Q.       And what about the example, the fiber bundle,

11    what would a person of skill in the art understand about

12    that?

13          A.       Right.   This is one that I mentioned in my report

14    where you could use a fiber bundle to essentially direct the

15    light from a portion of tissue straight to the detector as a

16    means to optimize the detection process.

17          Q.       And in July 2008, what materials would a person

18    of skill in the art recognize a fiber-optic faceplate or a

19    fiber bundle would be made of?

20          A.       The individual fibers would have a glass core and

21    then either a glass or a plastic cladding and then a

22    protective layer.        A fiber-optic faceplate, by the way, is

23    like a bundle of spaghetti that you hold in your hand and

24    you cut sideways so that you get all the little fibers lined

25    up with one another.




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1                    If we could turn to the next slide.

2                    How do Seiko and Cramer teach these limitations?

3           A.       In Seiko, for example, these limitations are

4     taught through the light transmittance plate that I already

5     mentioned.       It's a transparent material that allows light to

6     reach the photodiode detector.

7                    In Cramer, windows or transparent materials are

8     taught two different ways.         The first one, for example, is

9     the lens that exists at the top of the can above the

10    photodiode in this depiction, and the other is the windows

11    that are between the raised boss regions as depicted in

12    Fig. 6.

13          Q.       If we could turn to the next slide.

14                   What is the basis for your opinion that a person

15    of skill in the art would have been motivated to combine

16    Lumidigm's watch with Seiko's and Cramer's teachings on the

17    use of optically transparent materials and windows over or

18    within openings -- over or within the openings over

19    photodiodes?

20          A.       The basis for my opinion is, first, that Lumidigm

21    expressly teaches this idea through the notion of an optical

22    relay, which is a general way to say a transparent material

23    for allowing light to pass.

24                   And, in addition, independent of that idea, a

25    person of ordinary skill would have known that windows could




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1     be used and that Seiko 131 and Cramer would be suitable

2     references to consult.

3           Q.       Finally, then, let's turn to the limitation in

4     the next slide -- limitation in claim 30 relating to a

5     protrusion with chamfered edges.

6                    How do Seiko and Cramer disclose this limitation?

7           A.       Seiko discloses chamfered edges in several

8     figures.       I've noted Fig. 5 and Fig. 28 here where chamfered

9     edges are illustrated in Fig. 5 at the edges of the

10    protrusion, and in Fig. 28 on the opposite side of the

11    sensor as a comfort mechanism.

12                   And in Cramer, chamfered edges are incorporated

13    in Fig. 3, as an example, where a chamfer allows the edge to

14    transition from the main watch body to the raised boss area

15    without a sharp, 90-degree orthogonal edge that would be

16    uncomfortable for the user.

17          Q.       And if we were to turn to the next slide, what is

18    the basis for your opinion that a person of skill in the art

19    would have been motivated to combine Lumidigm's watch with

20    Seiko's and Cramer's teachings of protrusions with chamfered

21    edges?

22          A.       The basis for my opinion, again, is twofold.    The

23    first thought is that the compound curvature and the need

24    for ergonomic features is expressly stated in Lumidigm.

25    Additionally, a person of ordinary skill would understand




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          EXHIBIT 5




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       UNITED STATES INTERNATIONAL TRADE COMMISSION
                       WASHINGTON, D.C.

               Before the Honorable Monica Bhattacharyya
                        Administrative Law Judge


In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
                                                 Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


RESPONDENT APPLE INC.’S SECOND CORRECTED POST-HEARING BRIEF




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Id. 1198:17-1999:6; RDX-8.90 (summarizing Tr. [Warren] 1198:16-1200:15, RX-0510, RX-

0648); see also incorporated exhibits.

                        b.    Anticipation Under 35 U.S.C. § 102(a) / Single-Reference
                              Obviousness Under 35 U.S.C. § 103(a) Based on Lumidigm

       As discussed below and confirmed at trial by Professor Warren, Lumidigm anticipates all

asserted claims of the Poeze Patents, and at a minimum, renders all asserted claims obvious. Tr.

[Warren] 1207:1-12.20

                              (1)      Lumidigm

       U.S. Patent No. 7,620,212, titled “Electro-Optical Sensor” and originally assigned to

Lumidigm, has an August 13, 2002 priority date and is prior art to the Poeze Patents under 35

U.S.C. § 102. RX-0411 (“Lumidigm”). The lead inventor, Dr. Robert Rowe, previously worked

for Rio Grande Medical Technologies on light-based sensors that measured glucose and other

blood analytes. Tr. [Rowe] 1142:10-17, 1143:12-1144:8, 1146:18-1147:9. Lumidigm formed as

a spinoff to develop products that would use the same light-based sensors for biometrics. Id. at

1142:18-1143:1, 1144:15-1145:3.

       Lumidigm’s specification provides “a collation of what was known about [at] the time of

optical sensor heads that were used for reflectance mode for spectrometry purposes.” Tr. [Warren]

1204:8-17. Lumidigm’s purported novelty focuses on detecting the liveness of tissue, but




20
  Complainants’ expert Dr. Madisetti disagrees that the asserted Poeze Patent claims are invalid.
See Tr. [Madisetti] at 1385:25-1387:25. Apple requests that the ALJ take judicial notice of the
Final Written Decisions and corresponding declarations from Dr. Madisetti (attached hereto as
Exs. 1-16). See Certain Infotainment Sys., Components Thereof, & Automobiles Containing the
Same, Inv. No. 337-TA-1119, 2019 WL 4744857, at *1 (Sept. 23, 2019) (“Judicial notice is
appropriate for USPTO decisions related to an asserted patent.”); Certain Movable Barrier
Operator Sys. & Components Thereof, Inv. No. 337-TA-1118, 2019 WL 1773475 at *1 (Apr. 16,
2019) (same).
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Lumidigm repeatedly teaches that the same light-based sensors could be used to measure

traditional parameters such as glucose, hemoglobin, and blood oxygenation. RX-0411 at 4:25-29,

10:11-21, 19:16-28; Tr. [Warren] 1204:8-17, 1205:1-11, 1215:18-1216:9; Tr. [Rowe] 1147:10-

1148:4.

       Lumidigm explains that its sensor can include any number and arrangement of light

sources, including LEDs, in any of a variety of wavelengths. RX-0411 at 6:38-53, 8:33-9:11,

9:26-34. Lumidigm further confirms that the sensor can include any number and any arrangement

of detectors, including “a single element, a plurality of discrete elements, or a one-or-two

dimensional array of elements.” Id. at 6:54-63, 9:39-45, 9:52-57. Lumidigm illustrates examples

of such arrangements in Figures 3 through 7B, noting that “other numbers and arrangements” of

sources and detectors “may alternatively be used” and that “[m]any variants exist:




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RX-0411 at Fig. 3-7B, 9:30-45; Tr. [Warren] 1204:18-12:05:11; Tr. [Rowe] 1148:5-19.21

       Lumidigm explicitly confirms that the head of its sensor (i.e., the part in contact with the

user’s tissue) can have a “compound curvature on the optical surface to match the profile of a

device in which it is mounted, to incorporate ergonomic features that allow for good optical

coupling with the tissue being measured, or for other technical or stylistic reasons.” RX-0411 at

7:58-63.

       Lumidigm also discloses that the sensor can be incorporated into a “portable electronic

device” and provides as exemplary devices: key fobs, cell phones, personal digital assistants, and

user-worn watches.




RX-0411 at Fig. 8A-C, 3:35-37. Lumidigm further explains that its wristwatch embodiment can

include “any of the sensor geometries previously disclosed or other equivalent configurations.” Id.

at 11:60-12:2; Tr. [Warren] 1205:12-1206:7; Tr. [Rowe] 1152:4-25.

       Lumidigm’s wristwatch and other portable devices also include a number of other standard

components, including internal processors and memory for calculating and storing measurements

(e.g., RX-0411 at Fig. 9, 12:56-13:14) and interfaces for wireless communications (e.g., id. at Figs.

8D-8E, 13:9-12).



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  Apple has added color to Lumidigm’s figures throughout this brief, to highlight the relevant
components.
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                               (2)      ’501 Patent, Claim 12

         Lumidigm discloses all limitations of ’501 claim 12 and anticipates this claim or, at a

minimum, renders it obvious. Tr. [Warren] 1207:1-1215:10.

                                        (a)     ’501 Patent, Claim 1

         Limitation [1Preamble]: Lumidigm discloses “[a] user-worn device configured to non-

invasively measure a physiological parameter of a user, the user-worn device comprising.”

         Lumidigm discloses that its sensor can be incorporated into a variety of devices including

a user-worn wristwatch, as shown in Figure 8B:




RX-0411 at 11:60-12:2, Fig. 8B; Tr. [Warren] 1207:23-1208:13; RDX-8.23 (summarizing RX-

0411).

         Lumidigm explains that, in this embodiment, the “biometric reader 11 is built into the case

of a wristwatch 112 and operates based upon signals detected from the skin on the area of the

wrist.” RX-0411 at 11:61-64. Lumidigm’s sensor uses those signals to measure physiological

parameters, based on the “concentration of a substance in the individual’s tissue,” including

“oxygenation and/or hemoglobin levels in the blood.” Id. at 19:16-28, see also 11:61-64; Tr.

[Warren] 1208:1-13, 1214:12-1215:4.

         Lumidigm introduces its wristwatch embodiment after discussing numerous illustrative

arrangements for the sensor’s light sources, detectors, and sensor head, and confirms that “any of
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the sensor geometries previously disclosed or other equivalent configurations” can be used in the

wristwatch embodiment. RX-0411 at 11:60-12:2. A POSITA22 would have understood that this

would include any of the disclosed arrangements of LEDs and photodiodes, any of the disclosed

geometries for the sensor head including a “compound curvature,” and any equivalent

configurations. Tr. [Warren] 1204:18-1206:7, 1208:1-13, 1214:12-1215:4.

       Limitation [1A]: Lumidigm discloses “at least three light emitting diodes (LEDs).”

       The concept of using multiple LEDs in a sensor has been “known for many decades.” Tr.

[Warren] 1208:14-23, see also 1189:25-1191:22, 1195:6-12. Lumidigm teaches that its sensor can

include any type of light sources, including LEDs, in any variety of wavelengths. RX-0411 at

6:38-53. For example, each light source in a sensor can comprise “sets of LEDs, laser diodes

VCSELs, or other solid-state optoelectronic device,” and the light sources can have the same

wavelength characteristics, differing wavelength characteristics, or some sources with the same

wavelengths and others with different wavelengths. Id. at 6:43-53; Tr. [Warren] 1208:14-23.

Lumidigm also discloses that the sensor can include any number of light sources, in any

arrangement.

       Lumidigm includes a series of illustrative examples in Figures 2 through 7B, including

examples with three or more LEDs, and confirms that “other arrangements” also can be used. RX-

0411 at 9:26-34, Figs. 2-7B. For example, Figure 6 teaches that the sensor can have three LEDs

positioned relative to three photodiodes:




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  Professor Warren confirmed that he applied the parties’ agreed definition of a person of ordinary
skill in the art in evaluating anticipation and obviousness. Tr. [Warren] 1207:1-22. All references
to a “POSITA” in this brief, for purposes of the Poeze Patents, are from the perspective of a
POSITA with this skill level, as of the priority date of the Poeze Patents.
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RX-0411 at Fig. 6, 9:15-18, see also Figs. 3-5 and 7A-7B; Tr. [Warren] 1208:14-23; RDX-8.24

(summarizing RX-0411).

       As referenced above, Lumidigm also discloses that any of the disclosed LED arrangements

can be used in the wristwatch embodiment. RX-0411 at 11:60-12:2; Tr. [Warren] 1204:18-1206:7,

1208:1-13, 1214:12-1215:4.

       Limitation [1B]: Lumidigm discloses “at least three photodiodes.”

       The concept of using three or more photodiodes in a sensor also was “quite well known,”

dating back more than 40 years. Tr. [Warren] 1208:25-1209:17, see also 1191:23-1192:22,

1195:13-15. Lumidigm discloses that its sensor’s detectors “may comprise a single element, a

plurality of discrete elements, or a one- or two-dimensional array of elements,” in essentially any

arrangement. RX-0411 at 6:54-56. Lumidigm further explains that the detectors can be made of

various materials, including “InGaAs,” and that “a suitable detector material is silicon.” Id. at

6:56-63; see also Tr. [Warren] 1208:25-1209:17. A POSITA would have understood that a

detector made of InGaAs or silicon would be a photodiode. Id. at 1209:14-17 (“no doubt” a

POSITA would understand these as photodiodes).




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       Lumidigm provides several illustrative examples, including examples with “at least three

photodiodes” and again confirms that “other numbers and arrangements” may “alternatively be

used.” Id. at 9:30-34. For example, Figure 6 shows an example with three photodiodes:




RX-0411 at Fig. 6, see also Figs. 7A-7B; Tr. [Warren] 1208:25-1209:17; RDX-8.25 (summarizing

RX-0411).

       As referenced above, Lumidigm confirms that any of the disclosed photodiode

arrangements can be used in its wristwatch embodiment. RX-0411 at 11:60-12:2; Tr. [Warren]

1204:18-1206:7, 1208:1-13, 1214:12-1215:4.

       Lumidigm also discloses that the three photodiodes are “arranged on an interior surface

of the user-worn device.” For example, Figure 2, a cross-section of Figure 1, shows a detector

placed on an interior surface of the device:




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RX-0411 at Fig. 2, 7:5-6, 8:1-4; Tr. [Warren] 1209:19-1210:11; RDX-8.26 (summarizing RX-

0411). Although Figures 1 and 2 include only one detector, item 36, Lumidigm states that detector

36 is representative and “may comprise . . . a plurality of discrete elements.” RX-0411 at 6:54-56,

see also 3:9-11. A POSITA would have understood that, for the embodiments with multiple

detectors, such as Figure 6, the additional detectors would be similarly arranged on the interior

surface below the sensor head. Tr. [Warren] 1209:19-1210:11.

       Lumidigm also discloses that the three photodiodes are “configured to receive light

attenuated by tissue of the user.” This was “another well-known principle,” and is illustrated in

Figure 2, showing the photodiodes receiving light that has been “reflect[ed] back” to the

photodiodes after it has “propagated through the tissue.”         Tr. [Warren] 1209:19-1210:11.

Lumidigm explains that the detectors are “disposed relative to the light sources to detect light that

has propagated through tissue” and that the resulting signals “contain[ ] information about the

tissue optical properties.” RX-0411 at 3:25-28, 7:26-29, Fig. 2; Tr. [Warren] 1209:19-1210:11.

       Limitation [1C]: Lumidigm discloses “a protrusion arranged over the interior surface,

the protrusion comprising a convex surface.”

       The concept of using a protrusion with a convex surface was also a “well-known idea,”

dating back to the “early ‘70s.” Tr. [Warren] 1210:13-1211:8, 1194:17-1195:5, 1195:20-22. As
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referenced above, Figure 2 depicts a cross-sectional view of the sensor head, showing detectors

recessed and placed on an interior surface below the sensor surface. RX-0411 at 7:5-6, 8:1-4.

Although Figure 2 shows a flat sensor head, Lumidigm explains that “[t]he sensor head 32 may

also have a compound curvature on the optical surface to match the profile of a device in which

it is mounted, to incorporate ergonomic features that allow for good optical and mechanical

coupling with the tissue being measured, or for other technical or stylistic reasons.” Id. at 7:57-

63, 8:27-28 (“Optionally, the surface of the light relay can be contoured to fit specific product

applications and ergonomic requirements.”); RDX-8.27 (summarizing same).

        A POSITA would have understood that, when the sensor has a “compound curvature on

the optical surface” (i.e., the surface directly in contact with the user’s tissue), it has a protrusion,

with a convex surface, arranged over the interior surface holding the detectors. Tr. [Warren]

1210:12-1211:8. Lumidigm expressly teaches the benefits of a “compound curvature,” including

for “good optical and mechanical coupling.” RX-0411 at 7:57-63. A POSITA would have

understood the benefits of including a convex protrusion, including to improve signal quality. Tr.

[Warren] 1210:12-1211:8.

        Limitation [1D]: Lumidigm discloses “a plurality of openings extending through the

protrusion and positioned over the three photodiodes.”

        The concept of including individual openings over each photodiode was another “quite

well-known” idea, dating back to the “late 60s,” to allow light to reach the detectors. Tr. [Warren]

1211:10-12:12-3, see also 1192:25-1193:6, 1195:16-19. Consistent with this concept, Lumidigm

explains that its detectors are “recessed from the sensor surface 39 in optically opaque material”

and shows an example of such an opening in Figure 2:



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         Again, although Figures 1 and 2 include only one detector, item 36, Lumidigm expressly

states that detector 36 is representative and “may comprise . . . a plurality of discrete elements.”

RX-0411 at 6:54-56, see also 3:9-11. A POSITA would have understood that the sensor can

include a plurality of detectors, such as shown in Figure 6, and that for the embodiments with three

or more photodiodes, the protrusion would include an opening positioned over each photodiode:




RX-0411 at Fig. 6, 6:54-56, 3:9-11; Tr. [Warren] 1211:9-1212:10.; RDX-8.28 (summarizing RX-

0411).

         Limitation [1E]: Lumidigm discloses “the openings each comprising an opaque lateral

surface the plurality of openings configured to allow light to reach the photodiodes, the opaque

lateral surface configured to avoid light piping through the protrusion.”

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       The concept of using opaque materials for openings over photodiodes was another “well-

known idea,” and also dated back to the “late ‘60s.” Tr. [Warren] 1211:10-1212:3, see also

1192:25-1193:6, 1195:16-19. As Professor Warren explained, “if you recess the photodiodes or

detectors from the sensor surface in optically opaque material, you can reduce the amount of light

that’s detected without going through the tissue.” Id. at 1211:10-1212:3. Lumidigm expressly

confirms that its detectors 36 are “recessed from the sensor surface 39 in optically opaque material

37” and that this opaque material performs “optical blocking” to avoid unwanted light (or light

piping) through the protrusion:




RX-0411 at Fig. 2, 8:1-11; RDX-8.29 (summarizing RX-0411).               A POSITA would have

understood that openings made of opaque material over each detector avoid light piping through

the protrusion (i.e., light traveling from the LEDs to the photodiodes without first passing through

the user’s tissue). Tr. [Warren] 1212:11-1213:3, 1228:16-23. Lumidigm specifically discusses

using this configuration to provide “optical blocking” for “shunted” light. RX-0411 at 7:64-8:11.

Light shunting is another term for light piping. Tr. [Warren] 1212:22-1213:3.

       Limitation [1F]: Lumidigm discloses “one or more processors configured to receive one

or more signals from the photodiodes and calculate a measurement of the physiological

parameter of the user.”
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       The concept of including a processor to receive signals from photodiodes, calculate

measurements, and “manage the overall set of events” is another “well-known idea.” Tr. [Warren]

1213:4-1214:1. Lumidigm discloses that its portable devices, including the user-worn wristwatch,

include a “processor [that] is configured to operate the electronic arrangement to perform the

standard function and to operate the biometric sensor.”       RX-0411 at 3:28-31.      Lumidigm

repeatedly refers to the processors in its devices, and confirms that “[o]nce the light passing

through the tissue is detected, the signals can be digitized and recorded by standard techniques,”

and the “recorded data can then be processed” into spectral data “as is known to one of ordinary

skill in the art.” Id. at 9:58-62. This would include receiving and processing signals from the

photodiodes and calculating physiological measurements. Tr. [Warren] 1213:4-1214:1; RX-0411

at 19:16-28 (confirming that system “quantif[ies] oxygenation levels”).

       Figure 9 provides an example of a “computational device” for “management of the

functionality discussed herein” including “processor 332” and “processing acceleration unit 346”:




RX-0411 at Fig. 9, 12:56-67; Tr. [Warren] 1213:4-1214:1; RDX-8.30 (summarizing RX-0411).

Lumidigm further confirms that the components in Figure 9 can be implemented in a “separated
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or more integrated manner.” RX-0411 at 12:61-63. A POSITA would have understood that the

processors could be implemented in a separate reader or integrated onto the same device as the

sensor. Tr. [Warren] 1213:4-1214:1.

                                       (b)     ’501 Patent, Claim 12

       Lumidigm discloses “[t]he user-worn device of claim 1” for the reasons stated above for

claim 1.

       Lumidigm further discloses “wherein the convex surface of the protrusion is an

outermost surface configured to contact the tissue of the user and conform the tissue into a

concave shape. Lumidigm discloses a “protrusion with a convex surface” for the reasons stated

above for ’501 limitation [1C]. A POSITA would have recognized that, if a sensor has a protrusion

with a convex surface, and that protrusion is positioned next to tissue, “any pressure at all will

conform the tissue into a concave shape.” Tr. [Warren] 1214:2-11. Dr. Madisetti confirmed the

same understanding. Tr. [Madisetti] 686:1-18.

                              (3)      ’502 Patent, Claim 22

       Lumidigm discloses all limitations of ’502 claim 22 and anticipates this claim or, at a

minimum, renders it obvious. Tr. [Warren] 1215:11-1224:2.

                                       (a)     ’502 Patent, Claim 19

       Limitation [19Preamble]: Lumidigm discloses “[a] user-worn device configured to non-

invasively measure” a physiological parameter for the reasons discussed above for ’501 claim 1,

preamble.

       Lumidigm further discloses that its user-worn device “measure[s] an oxygen saturation

of a user.” Lumidigm explains that its devices can be used to perform a variety of functions

including measuring the “physiological state of an individual” using “a hemoglobin monitor.” RX-


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0411 at 19:16-19. Lumidigm further explains that this functionality detects “spectroscopic

changes [that] are correlated with oxygenation and/or hemoglobin levels in the blood” and

provides “the ability to quantify oxygenation levels.” Id. at 19:22-28; RDX-8.35 (summarizing

RX-0411).

       A POSITA would have recognized from these disclosures that Lumidigm’s devices are

configured to quantify oxygenation levels. Tr. [Warren] 1215:18-1216:9. Moreover, a POSITA

“would not have needed any additional information to make [pulse oximetry functionality] work”

in Lumidigm’s watch embodiment because this functionality was well understood at the time. Id.

at 1216:10-25. In fact, Professor Warren and his students were able to build sensors and “work[]

with them on their wrists” years earlier. Id. Although Apple had significant challenges to

overcome in implementing pulse oximetry on Apple Watch, given the limited space and other

competing features in Apple Watch, the simple light management problems addressed in the Poeze

Patents had already been solved. DocID 773735 (substituting Warren Op. ¶ 244 for Tr. [Warren]

1217:11-21); Tr. [Warren] 1243:5-16.

       Limitation [19A]: Lumidigm discloses “a plurality of emitters configured to emit light,

each of the emitters comprising at least two light emitting diodes (LEDs).”

       Lumidigm discloses that its sensor can include any number and arrangement of LEDs,

including in its wristwatch embodiment, for the reasons discussed above for ’501 claim 1,

limitation [1A]. E.g., RX-0411 at 6:38-53, 11:60-12:2, Fig. 6. Lumidigm further explains that the

“light sources” can include “sets of LEDs.” Id. at 6:48-53. A POSITA would have understood a

“set of LEDs” as a “grouping” of LEDs, each including “for example, three LED dies.” Tr.

[Warren] 1190:25-1191:6, 1205:1-11.



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       The concept of including four or more emitters in an optical sensor, each comprising a set

of LEDs, has been known for at least thirty years.        Tr. [Warren] 1191:7-22, 1195:10-12.

Lumidigm’s illustrative examples including multiple examples with four or more sets of LEDs,

including Figures 3, 5, 7A and 7B:




RX-0411 at Figs. 3, 5, and 7A-7B, 9:30-33; Tr. [Warren] 1220:12-1221:8.

       A POSITA would have understood that the light sources disclosed in these examples would

include at least four emitters, each with a set of three LEDs. Tr. [Warren] 1220:12-1221:8; RX-

0411 at 6:38-53, Figs. 3, 5, and 7A-7B; RDX-8.36 (summarizing RX-0411). For example, Figure

3 would include 6 emitters, each with three radial LEDs (where the light sources are single LEDs)

or 18 light sources, each with three LEDs in a set (where the light sources are sets of LEDs). See

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Tr. [Warren] 1220:12-1221:8. Figures 5 and 7A similarly demonstrate four or more emitters, each

with three or more LEDs, whether the circles that mark individual light sources are single LEDs

or sets of LEDs. And Figure 7B demonstrates four emitters, each with a set of three LEDS, when

the sources are sets of LEDs.

       Limitation [19B]: Lumidigm discloses “four photodiodes arranged within the user-worn

device.”

       The concept of using four or more photodiodes was also well-known. Tr. [Warren]

1191:24-1192:22, 1221:9-15. Lumidigm discloses that its sensor can include any number and

arrangement of photodiodes, including in its wristwatch embodiment, for the reasons discussed

above for ’501 claim 1, limitation [1B]. E.g., RX-0411 at 11:60-12:2. Lumidigm further discloses

multiple illustrative examples with “four photodiodes” or more, including in Figures 7A (five

photodiodes in a linear array) and 7B (64 photodiodes arranged in rows and columns):




RX-0411 at Figs. 7A-7B, 6:54-63; RDX-8.37 (summarizing RX-0411); Tr. [Warren] 1221:10-15.

       Lumidigm also discloses that the four photodiodes are “arranged within the user-worn

device” for the reasons discussed above for ’501 claim 1, limitation [1B].

       Lumidigm also discloses that these four photodiodes are “configured to receive light after

at least a portion of the light has been attenuated by the tissue of the user” for the reasons
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discussed above for ’501 claim 1, limitation [1B]. For example, Lumidigm explains that the light

detectors are “disposed relative to the light sources to detect light from the light sources that has

propagated through the tissue.” RX-0411 at 3:25-28; 7:26-29. A POSITA would have understood

that the photodiodes would be configured to receive light attenuated by the tissue of the user. Tr.

[Warren] 1209:19-1210:11.

        Limitation [19C]: Lumidigm discloses “a protrusion comprising a convex surface” for

the reasons discussed above for ’501 claim 1, limitation [1C].

        Lumidigm discloses “separate openings extending through the protrusion and lined with

opaque material, each opening positioned over a different one of the four photodiodes” for the

reasons discussed above for ’501 claim 1, limitations [1D], [1E].

        Lumidigm discloses “the opaque material configured to reduce an amount of light

reaching the photodiodes without being attenuated by the tissue” for the reasons discussed above

for ’501 claim 1, limitation [1E]. For example, Lumidigm expressly confirms that the openings

over the photodiodes are made from “optically opaque material 37,” that this configuration

“minimizes the amount of light that can be detected after reflecting off the first (epidermal) surface

of the tissue,” and that “[o]ther equivalent means of optical blocking can be readily established by

one of ordinary skill in the art”:




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RX-0411 at Fig. 2, 8:1-11; Tr. [Warren] 1212:11-1213:3. RDX-8.29 (summarizing RX-0411).

Lumidigm further explains that the sensor can have a “reflectance geometry” so that “when the

tissue is illuminated by a particular light source 41, the resulting signal detected by the detector 36

contains information about the tissue optical properties along a path between the source 41 and

detector 36.” RX-0411 at 7:12-14, 7:26-29.

        A POSITA would have also understood that Lumidigm’s use of openings made from

opaque material has the benefit of allowing light to pass through to the photodiodes while reducing

light piping, or the amount of light reaching the photodiodes without being attenuated by the tissue.

Tr. [Warren] 1212:11-1213:3.

        Limitation [19D]: Lumidigm discloses “optically transparent material within each of the

openings.”

        The use of windows or other optically transparent materials, within or across openings over

photodiodes, was also “well-known.”             Tr. [Warren] 1221:16-12:22-9, 1193:24-1194:14.

Consistent with this well-known idea, Lumidigm explains that its sensor can incorporate “an

optical relay (not shown) between the sensor surface 39 and the skin 40” that “transfers the light .

. . from the skin back to the detector(s),” and that this optical relay can include “fiber optic face

plates,” “individual optical fibers,” and “fiber bundles.” RX-0411 at 8:19-26. Professor Warren

illustrates this optical relay in blue in Figure 2:




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RX-0411 at Fig. 2; Tr. [Warren] 1221:16-1222:16; RDX-8.38 (summarizing RX-0411).

       A POSITA would have understood that fiber optic face plates, individual optical fibers,

and fiber bundles were well-known in the art, typically made of glass or plastic cladding, and could

be placed within or arranged over the openings. Tr. [Warren] 1221:16-1222:25. A POSITA would

have recognized, and Lumidigm confirms, that a well-known way to implement a fiber optic face

plate would be to place it “between the sensor surface 39 and the skin” to cover individual

openings. RX-0411 at 8:19-21; Tr. [Warren] 1221:16-1222:16. A POSITA would have further

recognized that a fiber optic face plate could be implemented as a “single faceplate for multiple

openings,” or as “an individual faceplate for each of the individual openings.” Tr. [Warren]

1221:16-1222:9. A POSITA would have recognized that a fiber optic face plate would be

beneficial because it would “transfer light” from the tissue to the photodiodes and “protect the

detector from dust and debris and dirt.” Id. at 1193:24-1194:7, 1221:16-1222:16. A “fiber bundle”

would similarly “direct light from a portion of tissue straight to the detector as a means to optimize

the detection process.” Id. at 1222:10-16.

       A POSITA would have thus understood that non-invasive, optical sensing devices should

have optically transparent material extending across the openings over the photodiodes and that

the benefits would include providing a pathway for attenuated light to pass through to the

photodiode while protecting the photodiode from damage or interference caused by contaminants

from a user. Id. at 1193:24-1194:7, 1221:16-1222:25.

       Limitation [19E]: Lumidigm discloses “one or more processors configured to receive

one or more signals from at least one of the four photodiodes and output measurements

responsive to the one or more signals” for the reasons discussed above for 501 claim 1, limitation

[1E]. For example, Lumidigm discloses both calculating and outputting measurements based on

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signals from the photodiodes. RX-0411 at 3:28-31, 9:58-59, 12:56-13:14, Fig. 9; Tr. [Warren]

1213:4-1214:1. A POSITA would have understood that Lumidigm’s “computational devices”

include one or more processors configured to use signals to output measurements of physiological

parameters and that the processors could be implemented in a separate reader or integrated onto

the same device. Tr. [Warren] 1213:4-1214:1.

       Lumidigm also discloses that its processors can output a measurement “indicative of the

oxygen saturation of the user” for the reasons discussed above for ’502 claim 19, preamble. A

POSITA would have recognized that it is the processors in the device that output the measurements

associated with Lumidigm’s blood oxygen function. Tr. [Warren] 1215:18-1216:25; RX-0411 at

19:16-19, 19:22-28, Fig. 9; RDX-8.35 (summarizing RX-0411).

                                      (b)     ’502 Patent, Claim 20

       Lumidigm discloses “[t]he user-worn device of claim 19,” for the reasons discussed above

for ’502 claim 19.

       Lumidigm also discloses “further comprising a thermistor.” This limitation relates to the

“well-known notion” that “LEDs will change their behavior depending on temperature,” and that

if a processor “can receive a temperature signal, in this case from a thermistor, it can adjust the

operation of the user worn device.” Tr. [Warren] 1223:1-20. Consistent with this notion,

Lumidigm discloses that its sensor may include “additional preprocessing steps” including

“performing explicit corrections to account for sensor-to-sensor variations or environmental

influences of temperature” and other factors.           RX-0411 at 14:21-28, Fig. 9; RDX-8.39

(summarizing RX-0411). Lumidigm also correctly comments that “[t]hese and other techniques

are well-known in the art.” Id. at 14:29.




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       A POSITA would have recognized that a thermistor was one of the “well-known”

techniques in the art to perform “explicit corrections” for the “environmental influence[] of

temperature,” and it would have been obvious to include a thermistor in Lumidigm’s device to

take temperature readings so the processor could use that temperature signal to adjust operations.

Tr. [Warren] 1223:1-20.

                                     (c)      ’502 Patent Claim 21

       Lumidigm discloses “[t]he user-worn device of claim 20,” for the reasons discussed above

for ’502 claim 20.

       Lumidigm discloses “wherein the one or more processors are further configured to

receive a temperature signal from the thermistor and adjust operation of the user-worn device

responsive to the temperature signal.” As discussed above for ’502 claim 20, Lumidigm discloses

“performing explicit corrections” to account for “environmental influences of temperature” and

confirms this is “well known in the art.” RX-0411 at 14:21-29, Fig. 9; RDX-8.39 (summarizing

RX-0411). Moreover, as discussed above in connection with ’501 claim 1, limitation [1E],

Lumidigm repeatedly refers to its sensor’s processors throughout the specification. E.g., RX-0411

at 12:61-67, Fig. 9. A POSITA would have understood that adjusting operations based on

temperature requires, in addition to the thermistor, one or more processors to receive the

temperature signal from the thermistor and to adjust operation of the sensor responsive to the

temperature signal. Tr. [Warren] 1223:1-20.

                                     (d)      ’502 Patent, Claim 22

       Lumidigm discloses “[t]he user-worn device of claim 21,” for the reasons discussed above

for ’502 claim 21.




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       Lumidigm also discloses “wherein the plurality of emitters comprise at least four

emitters, and wherein each of the plurality of emitters comprises a respective set of at least three

LEDs,” for the reasons discussed above for ’502 limitation [19A]. The illustrative examples

discussed in connection with ’502 limitation [19A] include four emitters, each with a respective

set of three LEDs. Tr. [Warren] 1220:13-1221:6.

                              (4)     ’502 Patent, Claim 28

       Lumidigm discloses all limitations of ’502 claim 28 and anticipates this claim or, at a

minimum, renders it obvious. Tr. [Warren] 1224:3-1227:21.

       Limitation [28Preamble]: Lumidigm discloses “[a] user-worn device configured to

noninvasively measure an oxygen saturation of a user, the user-worn device comprising” for the

reasons discussed above for ’502 claim 19, preamble.

       Limitation [28A]-[28B]: Lumidigm discloses “a first set of light emitting diodes (LEDs),

the first set of LEDs comprising at least an LED configured to emit light at a first wavelength

and an LED configured to emit light at a second wavelength” and “a second set of LEDs spaced

apart from the first set of LEDs, the second set of LEDs comprising at least an LED configured

to emit light at the first wavelength and an LED configured to emit light at the second

wavelength.”

       As discussed above, the concept of including multiple emitters in an optical sensor, each

comprising a set of LEDs, has been known for at least thirty years. Tr. [Warren] 1191:7-22,

1195:10-12. Each set of LEDs would include “for example, three LED dies,” and “multiple

wavelengths would be present, for example, in a multi-chip LED package.” Id. at 1190:25-1191:6,

1205:1-11, 1224:23-1225:5.




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       Consistent with this “well-known idea,” (Tr. [Warren] 1224:23-1225:5), Lumidigm

discloses that its sensor can include any number and arrangement of LEDs, including sets of LEDs,

and including in its wristwatch embodiment, for the reasons discussed above for ’501 claim 1,

limitation [1A], ’502 claim 19, limitation [19A], and ’502 claim 22. Lumidigm further explains

that the light sources “can include some sources that have the same wavelengths as others and

some sources that are different” and can include “sets of LEDs . . . with differing wavelength

characteristics.” RX-0411 at 6:38-53.

       A POSITA reading Lumidigm would have understood that its sensor could include sets of

LEDs; that those sets of LEDs could include LEDs of the same variety of differing wavelengths;

and that a multi-chip LED package (a “source” in Lumidigm), commonly used at the time, could

encapsulate a plurality of LED dies at multiple different wavelengths. Tr. [Warren] 1190:25-

1191:6, 1224:9-1225:12.

       Lumidigm provides multiple specific examples including the recited “first set” and “second

set” of LEDs, which are “spaced apart” from each other, and which include LEDs configured to

emit at a “first wavelength” and a “second wavelength,” including the examples in Figures 3, 5, 6,

7A, and 7B:




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RX-0411 at Figs. 3, 5-6, and 7A-7B; Tr. [Warren] 1224:9-1225:12; RDX-8.42-RDX-8.43

(summarizing RX-0411).       A POSITA would have understood, consistent with Lumidigm’s

disclosures, that each light source in these figures could comprise a set of LEDs, and that these

sets of LEDs would be spaced apart from each other as shown in the figures. Id. at 6:38-53; Tr.

[Warren] 1224:9-1225:12. A POSITA would have further understood that each set of LEDs would

include LEDs configured to emit at a “first wavelength” and a “second wavelength,” so that in

each source location “multiple wavelengths would be present” (as in a multi-chip package). Id.

       Lumidigm also incorporates by reference U.S. Patent Application Ser. No. 10/262,403

(RX-0411 at 1:40-44), which discloses in its Figure 6 multiple sets of LEDs, each with LEDs

emitting at “first” and “second” wavelengths. RX-0460 [’403 Application] at Fig. 6, see also

[0054]. A POSITA would recognize this as an example of the type of “sets of LEDs” that could

readily be incorporated into Lumidigm’s figures, particularly given that Lumidigm incorporates

the application by reference and thus expressly suggests such a combination. Tr. [Warren] 1224:9-

1225:12.

       Limitation [28C]: Lumidigm discloses “four photodiodes . . . configured to receive light

after at least a portion of the light has been attenuated by the tissue of the user” for the reasons

discussed above for ’502 claim 19, limitation [19B].
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       Lumidigm also discloses that the four photodiodes are “arranged . . . on an interior

surface of the user worn device” for the reasons discussed above for ’501 claim 1, limitation [1B].

Although this claim specifies four photodiodes rather than three, the same reasoning applies. Tr.

[Warren] 1225:13-1226:1.

       Lumidigm also discloses that the four photodiodes are “arranged in a quadrant

configuration.” The concept of arranging photodiodes in a quadrant was also “quite well-known.”

Tr. [Warren] 1225:13-1226:1, 1191:24-1192:22, 1195:13-15. Lumidigm explains that its detectors

can be implemented “as a single element, a plurality of discrete elements, or a one- or two-

dimensional array of elements.” RX-0411 at 6:54-63. A POSITA would have understood that a

two-dimensional array would include an arrangement of detectors in a quadrant configuration. Tr.

[Warren] 1225:16-1226:1. Lumidigm specifically discloses many more than four photodiodes

arranged in a quadrant in Figure 7B and states that “many variations on this configuration exist”:




RX-0411 at Fig. 7B; RX-0411 at 9:42-45; Tr. [Warren] 1225:13-1226:1; RDX-8.44 (summarizing

RX-0411). Figure 7B shows 64 detectors arranged in a quadrant, and a POSITA would recognize

that any four of the photodiodes in this figure also could be arranged in a quadrant. Tr. [Warren]

1225:16-1226:1.


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       Limitation [28D]: Lumidigm discloses “a thermistor configured to provide a temperature

signal” for the reasons discussed above for ’502 claims 20 and 21.

       Limitation [28E]: Lumidigm discloses “a protrusion arranged above the interior surface,

the protrusion comprising: a convex surface” for the reasons discussed above for ’501 claim 1,

limitation [1C].

       Limitation [28F]: Lumidigm discloses “a plurality of openings in the convex surface,

extending through the protrusion, and aligned with the four photodiodes,” for the reasons

discussed above for ’501 claim 1, limitation [1D] and ’502 claim 19, limitation [19C]. A POSITA

would have recognized that, for configurations with four or more photodiodes arranged in a

quadrant, such as shown in Figure 7B, there would be an opening over each photodiode. Tr.

[Warren] 1225:16-1226:1. This claim also specifies that the openings are in the convex surface of

the protrusion, but the same reasoning applies as for the earlier limitations. Id. at 1224:3-8.

Lumidigm teaches that the openings should be located within the convex surface to “incorporate

ergonomic features that allow for good optical and mechanical coupling with the tissue being

measured.” RX-0411 at 7:57-63. Achieving good “optical coupling” would of course require

locating the optical components (including the detectors and associated openings) so that they are

aligned with the protrusion’s convex surface. Id.; see also 8:27-28 (“Optionally, the surface of the

light relay can be contoured to fit specific product applications and ergonomic requirements.”).

       Lumidigm also discloses “each opening defined by an opaque surface configured to

reduce light piping,” for the reasons discussed above for ’501 claim 1, limitation [1E] and ’502

claim 19, limitation [19C]. Although this claim references “reducing light piping” rather than

“avoiding light piping,” the same reasoning applies. Tr. [Warren] 1224:3-8.



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       Limitation [28G]: Lumidigm discloses “a plurality of transmissive windows, each of the

transmissive windows extending across a different one of the openings” for the reasons discussed

above for ’502 claim 19, limitation [19D]. Although this claim specifies “transmissive windows

extending across” the openings rather than “transparent materials within” the openings, the same

reasoning applies. Tr. [Warren] 1224:3-8. A POSITA would have recognized that the fiber optic

face plates and fiber optic bundles referenced in Lumidigm and discussed in connection with

limitation [19D] are transmissive windows and that each would extend across a different one of

the openings. Tr. [Warren] 1221:16-1222:25; RX-0411 at 8:19-26.

       Limitation [28H]: Lumidigm discloses “at least one opaque wall extending between the

interior surface and the protrusion, wherein at least the interior surface, the opaque wall and

the protrusion form cavities.” As discussed above, Figure 2 shows a cross-section of Figure 1,

illustrating the detectors “recessed from the sensor surface 39 in optically opaque material 37”:




RX-0411 at Fig. 2, 8:1-4; RDX-8.45 (summarizing RX-0411). Lumidigm expressly states, and a

POSITA would have understood, that detector 36 in Figures 1 and 2 is representative and that it

may comprise “a plurality of discrete elements.” RX-0411 at 6:54-56, see also 3:9-11; Tr.

[Warren] 1205:1-11. A POSITA would have further understood that there would be opaque walls


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between the interior surface of the sensor and the protrusion, thereby forming cavities or recesses

where the respective photodiodes are located. Tr. [Warren] 1226:2-8; RX-0411 at 8:1-11, Fig. 2.

       Lumidigm further discloses that “the photodiodes are arranged on the interior surface

within the cavities” for the reasons discussed above and for ’501 claim 1, limitation [1B] and ’502,

claim 28, limitation [28C].

       Limitation [28I]: Lumidigm discloses “one or more processors configured to receive one

or more signals from at least one of the photodiodes and calculate an oxygen saturation

measurement of the user” for the reasons discussed above for ’502 claim 19, limitation [19E].

       Lumidigm also discloses “the one or more processors further configured to receive the

temperature signal” for the reasons discussed above for ’502 claim 21.

       Limitation [28J]: Lumidigm discloses “a network interface configured to wirelessly

communicate the oxygen saturation measurement to at least one of a mobile phone or an

electronic network.” By the time of the Poeze Patents, the use of wireless communications for

sensors was also a “well-known idea.” Tr. [Warren] 1226:9-21. Lumidigm repeatedly confirms

that its sensors communicate measurements through wireless communication means. RX-0411 at

11:38-42, 13:9-12, Fig. 8B. Lumidigm also discloses that its devices have a “communication

system 344” and that it “may comprise a wired, wireless, modem, and/or other type of interfacing

connection and permits data to be exchanged with external devices.” Id. at 13:9-12. Lumidigm

shows its communications system 344 in Figure 9 and explains that these components can be

incorporated into any of its exemplary embodiments including the wristwatch embodiment. Id. at

Fig. 9, see also 12:58-61. Lumidigm also expressly illustrates its watch embodiment with wireless

communications 103:



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RX-0411 at Figs. 8B and 9; RDX-8.46 (summarizing RX-0411). Lumidigm further explains the

wristwatch embodiment’s wireless communications capabilities in connection with the fob

embodiment, which the patent describes as having identical operation to the wristwatch

embodiment (including the wireless RF signals 103 shown in Figure 8B). RX-0411 at 11:38-42,

11:60-12:2.

       A POSITA would have understood that a device with a “wireless . . . type of interfacing

connection” (RX-0411 at 13:9-12) would have a network interface for wirelessly communicating

the measurement of a physiological parameter, including oxygenation levels, to a mobile phone or

computer network. Id. at 11:38-42, 19:22-28, Figs. 8B and 9; Tr. [Warren] 1226:9-21.

       Further, Lumidigm also discloses that its processors can output a measurement indicative

of “oxygen saturation” for the reasons discussed above for 502 claim 19, limitation [19E].

       Limitation [28K]: Lumidigm discloses “a user interface comprising a touch-screen

display, wherein the user interface is configured to display indicia responsive to the oxygen

saturation measurement of the user.” The use of user interfaces with touch screens was also


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“well known” by the time of the Poeze Patents. Tr. [Warren] 1226:23-1227:3. Lumidigm

discloses embodiments of portable electronic devices that were well known to have touch-

screens—a mobile phone and a PDA— and explains that those devices “display the retrieved

information on the portable electronic device” in connection with Figures 8D and 8E. RX-0411

at 21:29-33; RDX-8.47 (summarizing RX-0411).

       A POSITA would have understood from these disclosures that the recited user interface

with a touch-screen display could be incorporated into any of the sensor embodiments, including

the wristwatch embodiment. Tr. [Warren] 1226:23-1227:7.

       Limitation [28L]:    Lumidigm discloses “a storage device configured to at least

temporarily store at least the measurement.”          Lumidigm repeatedly refers to processing,

measurement, acquisition, and use of information, and a POSITA would recognize that such a

device would require memory, another well-known idea, to carry out these operations. RX-0411

at Fig. 9; Tr. [Warren] 1227:9-14. Lumidigm specifically discloses hardware elements, software

elements, and storage (including storage device 338, memory 348, and computer-readable storage

medium 340b) that store measurements taken by the sensor in Figure 9 and the related discussion:




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RX-0411 at Fig. 9, 12:66-13:14; RDX-8.48 (summarizing RX-0411). Lumidigm further discloses

that “[t]he storage devices typically hold information defining the stored spectra,” which A

POSITA would have understood to mean at least the temporary storage of the measurement (i.e.,

spectra). RX-0411 at 12:66-13:14; Tr. [Warren] 1227:9-14.

       Limitation [28M]: Lumidigm discloses “a strap configured to position the user-worn

device on the user.” Specifically, Lumidigm discloses a strap for its wristwatch embodiment:




RX-0411 at Fig. 8B, 11:60-65; Tr. [Warren] 1227:16-17; RDX-8.49 (summarizing RX-0411).

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                              (5)     ’648 Patent, Claim 12

       Lumidigm discloses all limitation of ’648 claim 12 and anticipates this claim or, at a

minimum, renders it obvious. Tr. [Warren] 1227:22-1228:10.

                                      (a)     ’648 Claim 8

       Limitation [8Preamble]: Lumidigm discloses “a user-worn device configured to non-

invasively determine measurements of a physiological parameter of a user, the user-worn device

comprising” for the reasons discussed above for ’501 claim 1, preamble.

       Limitation [8A]-[8B]: Lumidigm discloses “a first set of light emitting diodes (LEDs),

the first set comprising at least an LED configured to emit light at a first wavelength and at least

an LED configured to emit light at a second wavelength” and “a second set of LEDs spaced

apart from the first set of LEDs, the second set of LEDs comprising an LED configured to emit

light at the first wavelength and an LED configured to emit light at the second wavelength,” for

the reasons discussed above for ’502 claim 28, limitations [28A] and [28B].

       Limitation [8C]: Lumidigm discloses “four photodiodes” for the reasons discussed above

for ’502 claim 19, limitation [19B] and ’502 claim 28, limitation [28C].

       Limitation [8D]: Lumidigm discloses “a protrusion comprising a convex surface” for the

reasons discussed above for ’501 claim 1, limitation [1C].

       Lumidigm also discloses in “at least a portion of the protrusion comprising an opaque

material” for the reasons discussed above for ’501 claim 1, limitation [1E], and ’502 claims 19,

limitation [19C], and claim 28, limitations [28F] and [28H]. Although this claim specifies that a

portion of the protrusion comprises opaque material, rather than the surfaces of the openings or a

wall, the same reasoning applies. Tr. [Warren] 1227:22-1228:2. Lumidigm explains that “the




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body of the sensor head 32,” which includes the protrusion, is made from “optically opaque

material 37” to provide “optical blocking” and minimize unwanted light. RX-0411 at 8:1-11.

       Limitation [8E]: Lumidigm discloses “a plurality of openings provided through the

protrusion and the convex surface, the openings aligned with the photodiodes” for the reasons

discussed above for ’501 claim 1, limitation [1D], ’502 claim 19, limitation [19C], and ’502 claim

28, limitation [28F]. The same reasoning applies. Tr. [Warren] 1227:22-1228:2.

       Limitation [8F]:      Lumidigm discloses “a separate optically transparent window

extending across each of the openings” for the reasons discussed above for ’502 claim 19,

limitation [19D] and ’502 claim 28, limitation [28G]. Although this claim specifies a “separate

optically transparent window” across each opening, rather than transparent material or a

transmissive window, the same reasoning applies. Tr. [Warren] 1227:22-1228:2. A POSITA

would have recognized that the fiber optic face plates and fiber bundles referenced in Lumidigm

and discussed in connection with above limitations are optically transparent windows and that each

would extend across a different one of the openings. Tr. [Warren] 1221:16-1222:25.

       Limitation [8G]: Lumidigm discloses “one or more processors configured to receive one

or more signals from at least one of the photodiodes and output measurements of a physiological

parameter of a user” for the reasons discussed above for ’502 claim 19, Limitation [19E].

       Limitation [8H]: Lumidigm discloses “a housing.” For example, Lumidigm discloses

that, for its wristwatch embodiment, “the biometric reader 111 is built into the case of a wristwatch

112 and operates based upon signals detected from the skin in the area of the wrist.” RX-0411 at

11:60-64, Fig. 8B; Tr. [Warren] 1228:3-6; RDX-8.52 (summarizing RX-0411).




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       Limitation [8I]:     Lumidigm discloses “a strap configured to position the housing

proximate tissue of the user when the device is worn” for the reasons discussed above with respect

to claim 28, limitation 28[M].

                                       (b)     ’648 Claim 12

       Lumidigm discloses “[t]he user-worn device of claim 8,” for the reasons discussed above

for ’648 claim 8.

       Lumidigm discloses “wherein the physiological parameter comprises oxygen or oxygen

saturation” for the reasons provided above with respect to claim ’502 claim 19, preamble.

                                 (6)   ’648 Patent, Claims 24 and 30

       Lumidigm discloses all limitations ’648 claims 24 and 30 and anticipates these claims or,

at a minimum, renders them obvious. Tr. [Warren] 1228:11-1229:14.

                                       (a)     ’648 Claim 20

       Limitation [20Preamble]: Lumidigm discloses “[a] user-worn device configured to non-

invasively determine measurements of a user’s tissue, the user-worn device comprising” for the

reasons discussed above with respect to ’501 claim 1, preamble.

       Limitation [20A]: Lumidigm discloses “a plurality of light emitting diodes (LEDs)”

including for the reasons discussed above for ’501 claim 1, limitation [1A].

       Limitation [20B]: Lumidigm discloses “at least four photodiodes configured to receive

light emitted by the LEDs, the four photodiodes being arranged to capture light at different

quadrants of tissue of a user” for the reasons discussed above for ’502 claim 19, limitation [19B]

and ’502 claim 28, limitation [28C]. Although this claim specifies that the four photodiodes are

“arranged to capture light at different quadrants of tissue of a user,” rather than being arranged “in

a quadrant configuration,” the same reasoning applies. Tr. [Warren] 1228:11-15.


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       Limitation [20C]: Lumidigm discloses “a protrusion comprising a convex surface” for

the reasons discussed above for ’501 claim 1, limitation [1C], ’502 claim 19, limitation [19C], and

’502 claim 28, limitations [28E].

       Limitation [20D]: Lumidigm discloses “a plurality of through holes . . . arranged over a

different one of the at least four photodiodes” for the reasons discussed above for ’501 claim 1,

limitation [1D], ’502 claim 19, limitation [19C] and ’502 claim 28, limitations [28F]. Although

this claim refers to “through holes” rather than “openings,” the same reasoning applies. Tr.

[Warren] 1211:10-1212:10, 1224:3-8, 1227:22-1228:2.

       Lumidigm also discloses “each through hole including a window” for the reasons

discussed above for ’502 claim 19, limitation [19D] and ’502 claim 28, limitation [28G].

       Limitation [20E]: Lumidigm discloses “one or more processors configured to receive

one or more signals from the at least one of the photodiodes and determine measurements of

oxygen saturation of the user” for the reasons discussed above for ’502 claim 19, limitation [19E].

                                      (b)     ’648 Patent, Claim 24

       Lumidigm discloses ’648 claim 24, which recites “[t]he user-worn device of claim 20,

wherein the protrusion comprises opaque material configured to substantially prevent light

piping” for the reasons discussed above for ’501 claim 1, limitation 1[E] and ’502 claim 28,

limitation [28F]. Although this claim references “substantially preventing light piping,” rather

than “reducing” or “avoiding light piping,” the same reasoning applies. Tr. [Warren] 1228:16-23.

Lumidigm explains that “the body of the sensor head,” which includes the protrusion, is made

from “optically opaque material” and that the detectors are recessed from the sensor surface in this

optically opaque material to provide “optical blocking” and to “minimize” “shunted” light and

other unwanted light from reaching the detectors. RX-0411 at 7:64-8:10. Lumidigm further

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explains that “[o]ther equivalent means of optical blocking can be readily established by one of

ordinary skill in the art.” Id. at 8:10-11. A POSITA would have understood that the use of opaque

material has the benefit of allowing light to pass through to the photodiodes while reducing light

piping and other forms of optical noise. Tr. [Warren] 1212:11-1213:3, 1228:16-23; RDX-8.55

(summarizing RX-0411). Lumidigm specifically discusses using opaque material to provide

“optical blocking” for “shunted” light, and light shunting is another term for light piping. Tr.

[Warren] 1212:22-1213:3.

       Significantly, the Poeze specification attributes its asserted reduction in light piping to the

fact its protrusion is made from opaque material. E.g., JX-001 [’501 patent] at 7:65-8:8, 37:51-

52. If the Poeze Patents’ use of opaque material is sufficient to support the claims, then

Lumidigm’s use of opaque material also meets the claim language. See Tr. [Warren] 1202:19-

1203:9; RDX-8.17 (summarizing JX-001).

                                      (c)     ’648 Patent, Claim 30

       Lumidigm discloses ’648 claim 30, which recites “[t]he user-worn device of claim 20,

wherein the protrusion comprises one or more chamfered edges.” The use of chamfered edges

was also a “well-known mechanical principle.” Tr. [Warren] 1228:24-1229:10. Lumidigm

explains its sensor head can have essentially any shape, “including oval, square and rectangular

shapes.” RX-0411 at 7:57-63. Lumidigm also shows beveled edges on the top face of its watch

in Figure 8B. A POSITA would have recognized that this type of edge also could be used for the

sensor head. Tr. [Warren] 1228:24-1229:10. It would have been obvious to a POSITA that a

protrusion for a user-worn device should have chamfered edges, as it was well-known in the art

that a sensor that comes in contact with tissue should “incorporate ergonomic features” to increase

comfort and optimally contact the user’s tissue. Tr. [Warren] 1228:24-1229:10; RX-0411 at 7:57-

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63 (referencing desirability of “incorporat[ing] ergonomic features” into sensor head); RDX-8.56

(summarizing RX-0411).

                      c.      Obviousness Under 35 U.S.C. § 103(a)

       Although Lumidigm alone discloses all limitations of the asserted claims, the following

combinations also alternatively render the asserted claims obvious:

                     Combinations                          Asserted Claims of Poeze Patents
                                                                  Rendered Obvious

 Lumidigm + Seiko 131 + Cramer                            All claims

 Lumidigm + Webster                                       ’502 claim 22
 Lumidigm + Seiko 131 + Cramer + Webster

 Lumidigm + Webster + Apple ’047                 ’502 claim 28
 Lumidigm + Seiko 131 + Cramer + Webster + Apple
 ’047

See Tr. [Warren] 1229:11-1243:4. Seiko 131 and Cramer are wristwatch-based sensors, like

Lumidigm, and teach most disputed limitations. Webster also teaches the “thermistor” limitations

of ‘502 claims 22 and 28, and Apple ‘047 teaches the “user interface comprising a touch screen

display” limitation of ‘502 claim 28. Id.

                              (1)    Lumidigm in View of Seiko 131 and Cramer Render
                                     Obvious All Asserted Claims

       U.S. Patent No. 5,766,131 (“Seiko 131”), titled “Pulse-Wave Measuring Apparatus,” was

filed July 30, 1996, issued June 16, 1998, and discloses a user-worn “wristwatch type” light-based

sensor for physiological measurements. RX-0666 at Abstract; Tr. [Warren] 1230:18-1231:8;

RDX-8.61-RDX-8.62 (summarizing RX-0666).

       U.S. Patent No. 4,224,948 (“Cramer”), titled “Wrist Borne Pulse Meter/Chronometer,” was

filed November 24, 1978, issued September 30, 1980, and discloses a light-based physiological


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       UNITED STATES INTERNATIONAL TRADE COMMISSION
                       WASHINGTON, D.C.



In the Matter of
CERTAIN LIGHT-BASED PHYSIOLOGICAL
                                                Inv. No. 337-TA-1276
MEASUREMENT DEVICES AND
COMPONENTS THEREOF


       RESPONDENT APPLE INC.’S PETITION FOR REVIEW OF
    THE INITIAL DETERMINATION OF VIOLATION OF SECTION 337




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and intent elements of inducement. ID 198.         Specifically, the ID found that the Complaint

“contained allegations of infringement (including a claim chart for claim 27) similar to the

evidence presented at the hearing.” Id. But to support this finding, the ID cites only Complaint

Exhibit 18, filed on June 30, 2021, and no other evidence. Id. This lone citation does not satisfy

the “preponderance of evidence” standard, particularly where Complainants identified no

testimony from any witness (including their own expert Dr. Madisetti) that Apple had the requisite

knowledge to support a finding of inducted infringement. See RIB at 173; RRB at 88. Citation to

Certain Beverage Brewing Capsules, Inv. No. 337-TA-929, Comm’n Op. at 19-21 (Apr. 5, 2016),

is also inapt because Complainants failed to show by a preponderance of evidence that the

“infringement allegations set forth in [their Complaint] claim charts are substantially similar to []

ultimate infringement findings” (id.), nor can they because Dr. Madisetti heavily relies on his post-

complaint testing results to attempt to prove infringement.

               4.      The Economic Prong Is Not Satisfied.

       Because it relies on overlapping groups of devices, the ID’s finding that the economic

prong was satisfied for the ’745 patent is clear error for the same reasons as the Poeze patents. See

Section IV.E, supra.

               5.      The ’745 Patent Is Unenforceable.

       For the reasons discussed in Apple’s initial post-hearing brief (RIB at 204-205) and

consistent with Federal Circuit precedent, as recently confirmed in Personalized Media

Communications v. Apple, Inc., Case No. 21-2275, Dkt. 49 (Fed. Cir. Jan. 20, 2023), the ID erred

in its finding that Apple had not shown the asserted Poeze patents unenforceable under the doctrine

of prosecution laches and/or unclean hands. Complainants’ five-year delay and strategy of waiting

until Apple further developed its technology and fostered the market for wearable technology was


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both unreasonable and prejudicial to Apple who invested heavily in developing that technology

and growing the market while Masimo inexcusably delayed its prosecution.

        B.     U.S. PATENT NO. 7,761,127

        The ID rightly found no violation of U.S. Patent No. 7,76,127 (“’127 patent”) based on its

correct claim constructions and finding that the Accused Apple Watches do not infringe over those

constructions. But if the Commission grants review of to this patent, it should correct errors in the

ID’s technical prong, invalidity and economic prong analyses.

               1.      The Early Rainbow Sensor Do No Satisfy The Technical Prong.

        Complainants alleged that two product groups—(1) the “early rainbow® sensors” that

                                      and (2) the “current rainbow® sensors [that] use a

         —practice claim 9 of the ’127 patent for purposes of the domestic industry, technical

prong requirement. ID 273-275; CIB 36, 266-274. The ID correctly determined that Complainants

failed to show that the Current Rainbow Sensors meet Element 7[A], which requires a “thermal

mass” that stabilizes a bulk temperature, and Element 7[F], which requires that the temperature

sensor be “capable of determining a bulk temperature for the thermal mass” that is a representative

temperature for the thermal mass. ID 256, 259, 275-277, 279-281. However, the ID clearly erred

in finding that the Early Rainbow Sensors meet the “thermal mass” and “bulk temperature for the

thermal mass” limitations (ID 281, 279-281).

                       a.      Early Rainbow Sensors Do Not Meet “Thermal Mass”
                               Limitation.

        The ID clearly erred in finding that the Early Rainbow Sensors satisfy the “thermal mass”

limitation. First, the ID erred in assuming that Mr. Diab’s testimony regarding his simulations

using           software on a prototype “model of [a] sensor” (Tr. [Diab] 200:14-16; 201:2-202:2)

applied to actual Early Rainbow Sensors. ID 276. Mr. Diab never testified that his simulations

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those errors however, it should review the following errors in the ID’s invalidity analysis

pertaining to the Poeze patents.

               1.      The Asserted Claims Are Invalid.

       The ID clearly erred in finding that Lumidigm does not disclose a “convex

protrusion” (all asserted Poeze claims). ID 88, 97. Lumidigm discloses a “compound curvature

on the optical surface” of its protrusion “to incorporate ergonomic features that allow for good

optical and mechanical coupling with the tissue being measured.” See RX-0411 at 7:57-63, 8:1-

4, 8:27-28. A POSITA would have understood that a sensor with “compound curvature on the

optical surface” has a convex protrusion. Tr. [Warren] 1205:12-1206:7; 1210:12-1211:8. Indeed,

Lumidigm explicitly discloses that the sensor surface “can be contoured to fit specific product

applications and ergonomic requirements.” RX-0411 at 8:27-28.

       The ID clearly erred in finding “optically transparent material within each of the

openings” was not disclosed by Lumidigm or rendered obvious by its teachings (’502 claim

22). ID 121-124. The ID correctly determined Lumidigm “clearly discloses ‘optically transparent

material’ over openings.” See ID 123. Indeed, Lumidigm teaches an optical relay to “transfer[]

the light from the light sources to the skin and from the skin back to the detector(s) while

minimizing light loss and spreading.” RX-0411 at 8:19-26; Tr. [Warren] 1221:16-1222:25,

1235:14-1236:2. A POSITA would have understood an optical relay (such as “fiber optic face

plates,” “individual optical fibers,” or “fiber bundles) could be added to Lumidigm’s sensor. RX-

0411 at 8:19-26, Fig. 2; Tr. [Warren] 1221:16-1222:25. A POSITA would have further understood

the optical relay could be placed over or within the openings to “transfer light” from the tissue to

the photodiodes and “protect the detector from dust and debris and dirt.” RX-0411 at 1193:24-

1194:7, Tr. [Warren] 1221:16-1222:16. The “fiber bundles,” for example, would be placed within

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the openings and used “to essentially direct light from a portion of the tissue straight to the detector

as a means to optimize the detection process. Tr. [Warren] 1222:10-16

        The ID clearly erred in finding Lumidigm in combination with Cramer does not

render “optically transparent material within each of the openings” obvious. The use of

optically transparent materials extending across or within opening associated with photodiodes

was well known in the art prior to 2008 and taught by Lumidigm. Tr. [Warren] 1221:16-12:22-9,

1193:24-1194:14; RX-0411 at 8:19-26, Fig. 2. A POSITA would have naturally looked to other

references in the field to improve on Lumidigm’s teachings and would recognize the CLT 2160

taught by Cramer as a “can” detector and would understand that each can would include a lens at

the top end of the can, that the detector would be positioned inside the can at the focal point of the

lens, and that there would be a gap between the detector and the lens, creating an opening between

the detector and the lens. RX-0670 at Fig 6; Tr. [Warren] 1231:23-1232:9, 1234:3-8, 1234:22-

1235:12. A POSITA would have been motivated to combine Lumidigm with Cramer because

Lumidigm expressly teaches the benefits of transparent material within openings over photodiodes

and, more generally, because the benefits were well known. Tr. [Warren] 1235:14-1236:2.

        The ID clearly erred in finding Apple’s combinations including Apple ’047 37 do not

render “touch-screen” obvious (’502 claim 28). ID 133-136. Once again, the ID focused on the

wrong issue – namely, whether a touch screen could be physically incorporated into the face of

the wristwatch. ID 136. The asserted Poeze claims neither recite nor require such a structure. Nor

could they: The Poeze specification does not disclose or enable such a structure. Indeed, the

specification references the potential for a touch screen only twice as a purely hypothetical



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 Apple offered two combinations that render ’502 claim 28 obvious: (1) Lumidigm + Webster +
Apple ’047 and/or (2) Lumidigm + Seiko 131 + Cramer + Webster + Apple ’047.
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alternative (JX-0001 at 15:60, 17:25) and all the embodiments depict the display attached to but

separate from the user-worn portion of the device (id. at Fig. 2A-D). See Etter, 756 F.2d at 859;

Allied, 825 F.3d at 1381; Sneed, 710 F.2d at 1550; Mouttet, 686 F.3d at 1333-34. The ID also

incorrectly found that Professor Warren failed to identify a motivation. To the contrary, he

confirmed a person would have been motivated to make the combination because this was a “well-

known mechanism” for a display. Tr. [Warren] 1240:8-17.

       The ID clearly erred in finding written description support for the claimed

combinations (all claims). The Poeze specification fails to disclose a single embodiment

containing all the claimed limitations. While the ID identified various limitations dispersed

throughout the specification, it erroneously found that they belong to the same embodiment by

citing to generic language providing that one embodiment can mix-and-match between different

sensors. The ID’s finding cannot be squared with its treatment of the prior art, and specifically

Lumidigm, which expressly confirms that its wristwatch embodiment can include any of the

disclosed sensor geometries. RX-0411 at 11:64-12:2. This contrast is particularly significant given

that combining different elements of the prior art is permitted when determining whether the prior

art teaches the claimed invention, but it is not permitted when analyzing whether the asserted

patent provides an adequate written description. Flash-Control, LLC v. Intel Corp., 2021 WL

2944592, at *3-4 (Fed. Cir. July 14, 2021) (“[T]he specification must present each claim as an

‘integrated whole.’ … A patent owner cannot show written description support by picking and

choosing claim elements from different embodiments…”).

       The ID clearly erred in finding enablement of a touch screen (‘502 claim 28). ID 166.

The ’502 specification provides no guidance on how to use a touchscreen that “displays indicia

responsive” to any “measurement,” nor provides any guidance on how to implement a touchscreen

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in a user-worn device. RRB 75-76. The ID, again, erroneously imposed a higher scrutiny in its

obviousness analysis compared to its analysis here. Here, the ID found the scant references to a

touch screen in the Poeze specification sufficiently enables a touch screen on a user-worn device

but failed to find the same when examining the prior-art—which is arguably more detailed with

respect to touch screens. ID 133-36. The ID was also inconsistent in its treatment of the underlying

testimony. While the ID credited Dr. Madisetti’s enablement explanation—where he simply

recited a list of specification citations and concluded they are enabling—the ID described Dr.

Warren’s testimony on the subject as “conclusory,” despite providing more explanation than Dr.

Madisetti.   See Tr. [Warren] 1226:22-1227:7, 1240:4-1242:9, 1241:1-17; RDX-8.83-84; Tr.

[Madisetti] 1352:5-24; 1381:7-1382:8 (testimony cited by the ID concerning touch screens).

       The ID clearly erred in finding enablement for avoiding and reducing “light piping”

(’501 claim 12, ’502 claim 28, ’648 claim 24) and sufficient written description support for

substantially preventing light piping (’648 claim 24). ID 169. The Poeze specification provides

no guidance on how to avoid, reduce, or manage the problem of “light piping” aside from general

reference to opaque materials. Tr. [Warren] 1247:24-1248:4. The specification fails to explain

when “light piping” has been “substantially” prevented, how a POSITA accomplishes or determine

this, and how the sensors were constructed to accomplish this limitation.

               2.      The Poeze patents Are Unenforceable.

       For the reasons discussed in Apple’s initial post-hearing brief (RIB at 153-159) and

consistent with Federal Circuit precedent regarding, as recently confirmed in Personalized Media

Communications (No. 21-2275, Fed. Cir. Jan. 20, 2023), the ID erred in its finding that Apple had

not shown the asserted Poeze patents unenforceable under the doctrine of prosecution laches and/or




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unclean hands. Complainants’ twelve-year delay in filing the applications for the asserted Poeze

patents was both unreasonable and prejudicial to Apple.

VI.     CONCLUSION

        For the foregoing reasons, Apple respectfully requests the Commission review and reverse

the ALJ’s erroneous conclusions concerning validity, infringement, technical DI, and economic

DI for ’648 patent. Should the Commission take review of issues relating to the other patents—

though it need not do so—Apple further requests that the Commission review the additional issues

set forth in this Petition.




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